Case 8-18-72852-reg Doc 1 Filed 04/26/18 Entered 04/27/18 09:59:11

    
  

Eil| in this information to identify your case: t x
United Slales Bankruptcy Court for the:

EASTERN DlSTRlCT OF~ NEW YORK

 

ij 43
u. .
Case number ark/zawn} Chapter you are Hling under'

121 chapter?` '""

 

l chapter 11
l:l Chapter 12

13 Chapter 13 13 Check if this an
amended ming

 

 

 

Official Form 101

 

Voluntary Petition for individuals Filing for Bankruptcy 12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a joint
case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separate|y, the form uses Debtor 1 and Debtor2 to-distinguish
between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possib|e. lf two married people are filing together, both are equally responsible for supplying correct information. |f
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question. '

identify Yourself

1 . Your full name

    

Write the name that is on Doreen
your government-issued First name
picture identification (for

example, your dn'ver‘s

 

 

 

 

 

 

 

license or passport). lViiddle name ' Middle name
Bring your picture Hoffman
’de“"f‘°a“°" to your Last name and Surnx (Sr., Jr., ll, 111) __ l _j Last name and 311fo (Sr., Jr., ll, lll)

meeting with the trustee.

 

2. A|| other names you have
used in the last 8 years

include your married or
maiden names.

 

 

3. Only the last 4 digits of
your Social Security
number or federal v xxx_xx_os-H
lndividua| Taxpayer
ldentihcation number
(lTlN)

 

Oflicial Form 101 v Voluntary Petition for individuals Filing for Bankruptcy page 1

Case 8-18-72852-reg Doc 1 Filed 04/26/18 Entered 04/27/18 09:59:11

Debtor 1 Doreen Hoffmari Case number (ifknown)

 

 

4. Any business names and
Employer identification

Numbers (EiN) you have l l have not used any business name or E|Ns. _ § |:l i have not used any business name or EiNs.
used in the last 8 years ` 1;

 

  

 

 

 

include trade names and Business name(s)

j `i Business name(s)
doing business as names '

 

 

EiNs _ _, .;.:.,' EiNs

 

 

5. Where you live f Debtor 2 lives at a different address:

   
  

163 Roe Avenue `
Patchogue, NY 11772
Number, Street, City, State & ZiP Code

 

 

 

ii Number, Streetl Cityl State & ZiP Code

Suffolk
County

 

County

if Debtor 2's mailing address is different from yours, fill it
in here. Note that the court wiii send any notices to this
mailing address. -

if your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

 

 

 

Number, P.O. Box, Street, City, State & ZiP Code Number, P.O. Box, Street, City. State & ZiP Code

 

 

6. ' Why you are choosing Check one.' Check one.'
this district to file for
bankruptcy l Over the iasi 130 days before filing this peiiiionl |:l Over the last 180 days before filing this petition, |
` l| have lived in this district longer than in any heve iived ih this district i°hgei then ih any ether
other district. district.
|:l i have another reason. i have another reason-

 

Explain. (See 23 u.s.c. § 1403.) 1 ., Explain- (See 28 U.S.C. § 1408-)

 

 

 

 

Ofiiciai Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 2

Case 8-18-72852-reg Doc 1 Filed 04/26/18 Entered 04/27/18 09:59:11

Case number (ifknown)

 

Debtor 1 Doreen Hoffman

Teli the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for lndividuals Filing for Bankruptcy
Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
h . .
c ooslng to file under m Chapter 7
l Chapter 11
Ei Chapter 12
L__i Chapter 13
8. How you will pay the fee l l will pay the entire fee when l file my petition . Piease check with the clerk’s office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourseif, you may pay with cash, cashier`s check, or money
order. if your attorney is submitting your payment on your behaif, your attorney may pay with a credit card or~ check with
a pre-printed address.
ij l need to pay the fee in installments. if you choose this option, sign and attach the Application for individuals to Pay
The Filing Fee in /nsfa//ments (Offlciai Form 103A).
ij l request that my fee be waived (You may request this option only if you are filing for Chapter 7. By iaw, ajudge may, _
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). if you choose this option, you must till out
the Application to Have the Chapter 7 Filing Fee Waived (Offlciai Form 103B) and tile it with your petition.
9. Have you filed for -- NO
bankruptcy within the `
last 8 years? i:i Yes.
District When Case number
District When Case number
District When Case number
10. Are any bankruptcy l No
cases pending or being
filed by a spouse who is l:i Yes_
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Reiationship to you
District When Case numberl if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your l NO Go to line 12.
residence? `
L__| Yes_ Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?

L__l No. Go to line 12.

ij Yes. Fii| out lnitial StatementAbout an Eviction Judgment'Against You (Form 101A) and Hie it with this
bankruptcy petition.

 

Officiai Form 101

Voluntary Petition for individuals Filing for Bankruptcy page 3

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Debfor 1 Doreen Hoffman

Case number (ifknown)

 

m Report About Any Businesses You Own as a Soie Proprietor

 

12. Are you a sole proprietor

of any fuil- or part-time
business?

A sole proprietorship is a
business you operate as
an individual, and is not a
separate legal entity such
as a corporation,
paitnership, or LLC.

if you have more than one
sole proprietorship, use a
separate sheet and attach
it to this petition,

l No. GO 10 Pari 4.

|:| Yes_ Name and location of business

 

Name of business, if any

 

Numberl Street, City, State & ZiP Code

Check the appropriate box to describe yourbusiness:
Heaith Care Business (as defined in 11 U.S.C. § 101(27A))

Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as denned in 11 U.S.C. § 101(53A))
Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

l:|l:|[:il]l]

 

13.

Are you filing under
Chapter 11 of the
Bankruptcy Code and are
you a small business
debtor?

For a definition of small
business debtor, see 11
U.S.C. § 101 (51 D).

If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
deadlines. if you indicate that you are a small business debtor, you must attach your most recent balance s`heet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
in 11 U.S.C.1116(1)(B).

ij NO_ l am not filing under Chapter 11.

l No l am filing under Chapter 11, but l am NOT a small business debtor according to the definition in the Bankruptcy
` Code.
[| Yes_ l am filing under Chapter 11 and i am a small business debtor according to the definition in the Bankruptcy Code.

 

14.

Report if You Own or Have Any Hazardous Property orAny Property That Needs immediate Attention

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs ?

l No.

l:i Yes.
What is the hazard?

 

if immediate attention is
needed, Why is it needed?

 

Where is the property?

 

Number, Street, City, State & Zip Code

 

Ochiai Form 101

Voluntary Petition for individuals Filing for Bankruptcy . page 4

CaSe 8-18-72852-|’€9 DOC l Filed 04/26/18 Eiitei’ed 04/27/18 09259211

Debtor 1

Case number (irknown)

Doreen Hoffman

 

 

m Explain Your Efforts' to Receive a Briefing About Credit Counseling

15. Teli the court whether

y voir must check one:

     

 

 

 

 

 

 

 

yOU have received a l | received a briefing from an approved credit _ j l:| | received a briefing from an approved credit
briefing about credit. counseling agency within the 180 days before l '-` counseling agency within the 180 days before lfiled
counseling. filed this bankruptcy petition, and l received a ` ' this bankruptcy petition, and | received a certificate of
certificate of completion. completion.
The law requires that you
receive a brienng eboui At'tach a copy of the certificate and the payment At'tach a copy of the certincate and the payment plan, if
credit oounseiing before pian, if any, that you developed with the agency. _, any, that you developed with the agency.
you nle for bankruptcy. _
You must truthfully check l:l l received a briefing from an approved credit l:l l received a briefing from an approved credit
one ofthe following counseling agency within the 180 days before l counseling agency within the 180 days before l filed
choices. if you cannot do filed this bankruptcy petition, but l do not have ~~» this bankruptcy petition, but l do not have a certificate
so, you are not elig ble to a certificate of completion. - of completion.
me` Within 14 days after you file this bankruptcy Within 14 days after you file this bankruptcy petition, you
ifyou me anyway the Court petition, you i\il_UST file a copy of the certificate and l\iiUST nle a copy of the certificate and payment plan, if
can dismiss your case, you payment pian’ if any' any'
will lose whatever filing fee _ _ _ _ . _ ' _ _ _
you paid, and your l certify that | asked for credit counseling ' l:| l certify that l asked for credit counseling services
oreciiiorS oan begin services from an approved agency, but was from an approved agency, but was unable to obtain
ooiieotion aoiiyiiies again_ unable to obtain those services during the 7 those services during the 7 days afterl made my
days after l made my request, and exigent request, and exigent circumstances merit a 30-day
circumstances merit a 30-day temporary waiver temporary waiver of the requirement.
of the requirement. M", _ _
To ask for a 30-day temporary waiver of the requirement,
To ask for a 30-day temporary waiver of the attach a separate sheet explaining what efforts you made
requirement, attach a separate sheet explaining to obtain'the brienng, why you were unable to obtain it
what efforts you made to obtain the briefing, why before you filed for bankruptcy, and what exigent
you were unable to obtain it before you filed for circumstances required you to nle this case.
bankruptcy, and what exigent circumstances _ _ _ . _ _
required you to frie iniS oase_ Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a brienng before you
Your case may be dismissed if the court is filed for bankruptcy.
dissatisfied with your reasons for not receiving a _ _ _ l
briean before you iiied for bankruptcy if the court is satisfied_with your reasons, you must still
if the court is satisfied with your reasons, you must receive a_brieiing Within 30 dayS after you tiie- YOu _muSt
still receive a brienng within 30 days after you file. iiie a Ceriiiieate from the approved agency. along With a
You must tile a certificate from the approved COpy Or the payment pian you ueveiopedi ir any- ir you do
agency, along with a copy of the payment plan you not do 301 Your ease may be dismissed-
deve|opeq’ 'f.any' lfyou do not do SO' your Case Any extension of the 30-day deadline is granted only for
may be dismissed. . . . .
cause and is limited to a maximum of 15 days.
Any extension of the 30-day deadline is granted `
only for cause and is limited to a maximum of 15
days. t t, .
[:l l am not required to receive a briefing about ' i l:l l am not required to receive a briefing about credit

credit counseling because of:

l:l |ncapacity.
l have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

[:l Disabiiity. ----
My physical disability causes me to be ' "
unable to participate in a briefing in person,
by phone, or through the internet, even after |

counseling because of :

l:] |ncapacity.
i have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

l:| Disabiiity.
l\iiy physical disability causes me to be unable to
participate in a briean in person, by phonel or
through the internet, even after l reasonably tried to

reasonably tried to do so. do so.

l:] Active duty. l:l Active duty.
l am currently on active military duty in a y i am currently on active military duty in a military
military combat zone. - combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

if you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

 

Ofnciai Form 101

Voluntary Petition for individuals Filing for Bankruptcy

page 5

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Debt0r1 Doreen Hoffman

Case number (rrknown)

 

 

z Answer These Questions for Reporting Purpos`es

 

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

i:i No. Go to line 16b.
m Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

i:i No. Go to line 160.

iIl Yes. eo io line 17.
16c. State the type of debts you owe that are not consumer debts or business debts

 

 

17. Are you filing under
Chapter 7?

Do yo'u estimate that
after any exempt
property is excluded and

. NO_ i am not filing under Chapter 7. Go to line 18.

ij Yes_ l arn filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
are paid that funds will be available to distribute to unsecured creditors?

 

 

administrative expenses |:| No
are paid that funds will
be available for i:i Yes
distribution to unsecured
creditors? \
18- How ma_ny Credit°rs do l 1_49 lIi 1,000-5,000 iii 25,001-50,000
ic',;’vl;§s“mat° thaty°“ i;i 50_99 iii 5001-10,000 iii 50,001-100,000
' i;i 100_199 iZi10,001-25,000 iii More inan100,000
lZi 200-999
19- How much do you l:i $0 - $50,000 iii $1,000,001 ~ $10 million iii $500,000,001 - $1 billion

estimate your assets to
be worth?

lIi $50,001~ $100,000
l $100,001 - $500,000
iii $500,001 - $1 million

i:i $10,000,001 - $50 million
i:i $50,000,001 - $100 million

` i:i $100,000,001 - $500 million

iii $1,000,000,001 - $10 billion
m $10,000,000,001 - $50 billiOil
i:i More than $50 billion

 

20. l Ho\iir much do you
estimate your liabilities
to be?

iii $0 - $50,000

iii $50,001-$100,000
lZi $100,001- $500,000
l $500,001 - $1 million

iii $1,000,001 ~ $10 million

iii $10,000,001 - $50 million
iii $50,00_0,001 - $100 million
iii $100,000,001 - $500 million

iii $500,000,001- $1 billion

iii $1,000,000,001 - $10 billion
iii $10,000,000,001 - $50 billion
i:i More than $50 billion

 

msi ss'si

For you

l have examined this petition, and l declare under penalty of perjury that the information provided is true and correct.

if l have chosen to file under Chapter 7, l am aware that l may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. i understand the relief available under each chapterl and i choose to proceed under Chapter 7.

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out this
document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Codel specified iri this petition.

l understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
r both. 18 .S.C. §§ 152, 1341, 1519l

bankruptcy case can result in fines up to $250,000, or imprisonme for up to 20 year
and 3571.

isi Doreen Hoffman

 

Doreen Hoffman
Signature of Debtor 1

 

Executed on April 26, 2018 Executed on

l\il|V|/DD/YYYY

 

 

M|V|/DD/YYYY

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy ' page 6

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Debtor 1 Doreen Hoffman

Case number (rrr<nown)

 

For your attomey, ifyou are
represented by one

if you are not represented by
an attorney, you do not need
to file this page.

i, the attorney for the debtor(s) named in this ,o: ' ion, declare that l have informed the debtor(s) about eligibility to proceed
under Chapter 7, 11, 12, or 13 of title 11, Uni tes Code, and have explained the relief available under each chapter
for which the person is eiig ble. l also certi l ave delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
and, in a case\in which § 707(b)( ’ '- ii ify that l have no knowledge after an inquiry that the information in the
schedules filed with the petit,'\-n i `

    
  
   
    
 
 
 

Date April 26, 2018
MM / DD / YYYY

lsi John Fazzio, Es.
Signature of Attorney for l ~¢ `\_»r

John Fazzio, Esq.
Piinted name

FAZZlO LAW t i
Firm name

26 Broadway, 21st Flo

New York, NY 10004
Numberl Street, Cityl State & ZiP Code

Coniaciphone 201-529-8024 t t Emaii address jfazzio@fazziolaw.com

 

 

4431267 (NY)

Bar number 81 State

 

Officiai Form 101

Voluntary Petition for individuals Filing for Bankruptcy page 7

Case 8-18-72852-reg Doc 1 Filed 04/26/18 Entered 04/27/18 09:59:11

Fili in lthisiirifor‘riiation.t`c`) identify your:case:

Debtor 1 Doreen Hoffman
First Name Middie Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: EASTERN DiSTRlCT OF NEW YORK

 

Case number
iiiimown) ij Check if this is an

amended filing

 

 

 

Officiai Form 1068um

Summary of Your Assets and Liabilities and Certain Statistical information 12r15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. Fili out all of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part_"1:‘ Summarize Your Assets

 

 

 

1. Schedule AIB: Property (Ofticial FoiTn 106AiB)

1a. Copy line 55, Total real estate, from Schedule AiB ................................................................................................ $ 427’500'00
1b. Copy line 62, Total personal property, from Scheduie AiB ............................................. ....................................... $ 10,216_00
1c. Copy line 63, Total of ali property on Schedule AiB ............................................................................................... $ 437,716_00

summarize Your Liabilities

 

2. Schedule D.' Creditors Who Have Claims Secured by Property (Official Form 106D)

 

2a. Copy the total you listed in Column A, Amount ofciaim, at the bottom of the last page of Part 1 of Schedule D... $ 769’358'00
3. Schedule E/F.' Creditors i/l/ho Have Unsecured Claims (Ofticial Form 106EiF)
- 3a. Copy the total claims from Part 1 (prion`ty unsecured claims) from line 6e of Schedule E/F ................................. $ 41’623'81
3b. Copy the total claims from Part 2 (nonpriority unsecured ciaims) from line 6i` of Schedule E/F ............................ $ 28,353_27
Yourtotal liabilities $' 839,335.08

 

 

 

Summarize Your income and Expenses

4. Schedule l: Yourlncome (Officiai Form 1061)

Copy your combined monthly income from line 12 of Schedule i ................................................................................ $ 6’532~76
5. Schedule J.' Your Expenses (Official Form 106J)
Copy your monthly expenses from line 220 of Schedule J .......................................................................... $ 6)21 2-52

"`fs“"i_ Answer These Questions for Administrative and Statistical Records

 

 

6. Are you filing for bankruptcy under Chapters 7, 11, or13?
|'_'l No. You have nothing to report on this part of the fon'n. Check this box and submit this form to the court with your other schedules

' Yes
7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personall family, or
household purpose.” 11 U.S.C. § 101(8). Fili out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

jj Your debts are not primarily consumer debts . You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.
Official Form 1063um Summary of Your Assets and Liabilities and Certain Statistical information _ page 1 of 2

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Debtori Doreen Hoffman ' ~ ' . - Case number (ifknown)-

 

 

8. From the Statement of Your Current iiiionthiy Income : Copy your total current monthly income from Officiai Form 7 759 8
122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ ’ '1

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

..=..,'¢. umw

manual

 

 

    

retainsPaiizi»_on~»:.>'s‘ohaarireir_=`/i_=,:;'"o“ob“v;irie ioiioiirin"cii,~;;.;~; s .»z ~» i

 

 

 

 

9a'. Domestic support obligations (Copy line 6a.) $ 0_00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 41,623.81
9c. Claims for death or personal injury While you were intoxicated. (Copy line 6c.) $ , 0_00
9d. Student loans. (Copy line 6f.) t $ ' 0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.) $ 0'00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0_00
9g. Total. Add lines 93 through 9f. ' $ 41,623.81
Official Form 106Sum Summary of YourAssets and Liabilities and Certain Statistical information page 2 of 2

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Fili in ithis,'informa_tion to identify .your case and this filing:

Debf0r1 Doreen Hoffman
First Name iVliddle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name ililidd|e Name Last Name

 

United States Bankruptcy Court for the: EASTERN DiSTRlCT OF NEWYORK

 

Case number i:i Check if this is an
amended filing

 

 

official Form ioeA/B r
Schedule AiB: Property wis

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. 0n the top of any additional pages, write your name and case number (if known).
Answer every question.

 

Describe Each Residence, Buiiding, Land, or Other Real Estate You 0wn or Have an interest in

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

l:l No. Go to Part 2.
- Yes. Where is the property?

1.1 What is the property? Check ali that apply

 

 

 

 

 

163 R°e Avenue i:l Single-family home Do riot deduct secured claims or exemption v F’utm
Street address, if availablel or other description ._ . . . thé§' `u`rit of any"sé&tlred ciainis"o'ri Soheduie'D:
i:i Duplex or mum un't building Crediidrs Who Have Claims Secu`red by Properfy-.
m Condominium or cooperative '
i:l l\ilanufactured or mobile home
Current value of the Current value of the
PatChOgUe NY 11772-0000 m Land entire property? portion you own?
city stale ziP code ill investment property $427,500.00 $427,500.00
i:i Timeshare
m Describe the nature of your ownership interest
Oiher ___ (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life eetate)» if known-
- Debtor 1 only
Suffolk i:i Debtor 2 only
County i:i
mwa and Debtor 2 only m Check ifthis is community property
i:i At least one of the debtors and another (see instniciions)

Other information you wish to add about this item, such as local
property identification number:

 

 

2. Add the dollar value of the portion you own for all of your entries from Part1, including any entries for
pages you have attached for Part1. Write that number here => $427'500'00

 

 

 

‘ Describe Your Vehicies

 

 

Do you own, |ease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives. if you lease a vehicie, also report it on Schedule G: Executory Contracts and Unexpired Leases.

Ofliciai Form 106A/B Schedule A/B: Property page 1
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Debef 1 Doreen Hoffman d Case number (ifknowrr)

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

[:i No
Yes
- . Do hot deduct secured claims or exemptions Put "
. 0 ?

3`1 Make` ____-F rd Who has an interest m the property Check one the amount of any secured claims on _Scheduie D.'
Niodei; EXpiOl”er - Debtor 1 oniy Crediiors Who Have Claims Secured by Property.
Year‘ _2.006______ i:i Debtor 2 °hiy Current value of the Current value of the
Approximate mileage: Ei Debiori and Debior 2 oniy entire property? portion you own?
Other information: i:i At least one of the debtors and another

 

Ei Check if this is community property $41261-00 $4,261.00

(see instructions)

 

 

 

 

4. \iiiatercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercrafl, fishing vessels, snowmobiies, motorcycle accessories

- No
i:i Yes

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for $4 261 00
.pages you have attached for Part 2. Write that number here =>

 

 

 

 

Describe Your Personal and Household items

>[_)o u own or have any legal or equitable _i t i_n any of the following iteiri§'Z__

      

Do not deduct secured
claims or exemptions
6. Household goods and furnishings

Examples: Major appliances, furniture, linens, china, kitchenware

i:i No
- Yes. Describe .....

 

Lhoueohoid ggde & furnishings sz,soo.oo

 

7. E|ectronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printersl scanners; music collections; electronic devices
including cell phonesl oameras, media piayers, games

[i No
- Yes. Describe .....

 

Lused television, used computer l $400.00

 

8. Collectibies of value
Examples: Antiques and figurines; paintings, piints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card oollections;
other collections, memorabiiia, collectibies

No
[i Yes. Describe .....

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry toois;
musical instruments

l No
[| Yes. Describe .....

10. Fireanns .
Examples: Pistois, rifles, shotguns, ammunition, and related equipment

-No

Official Form 106A/B Schedule A/B: Property page 2
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Debtor1 Doreen Hoffman Case number (rfknown)

 

i:i Yes. Describe .....

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

i:i No
m Yes. Describe .....

 

iwearing apparel ' i $600.00

 

12. Jewelry
Examples: Everydayjewelry, costumejewelry, engagement rings, wedding rings, heirioomjewelry, watches, gems, goid, silver

i:i No
- Yes. Describe .....

 

mng, simple jewelry $1,250.00

 

13. Non-farrn animals
Examples: Dogs, cats, birds, horses

. No
i:i Yes. Describe .....

14. Any other personal and household items you did not already list, including any health aids you did not list
. No

i:i Yes. Give specific information .....

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

for Part 3. Write that number here $4,750.00

 

 

 

 

Describe Your Financial Assets
"Do you own or have any legal or equitable interest inr_any of'the`foiid\_i'ring? " o _ ',_Qurrent _val_ue _of the
. `~ ' pni`ti?h y.e.“ ewn?
Do not deduct secured
claims or exemptions

 

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition l

i:i No
. Yes ................................................................................................................

Cash on hand $80.00

 

17. Deposits of money -
Examples: Checking, savings, or otherfinancial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions if you have multiple accounts with the same institutionl list each.
i:i No

Y€S ........................ ` institution name:

17_1_ Chase llilanhattan Bank $1,125.00

 

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

.No

l:i Yes __________________ institution or issuer name:

19. l\lon-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, paitnership, and
joint venture

liNo

|:i Yes. Give specific information about them ...................

OtHcial Form 106AiB ' Schedule AIB: Property page 3
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Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non~negotiabie instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non~negotiable instruments ar_e those you cannot transfer to someone by signing or delivering them.

l No `
l:l Yes. Give specific information about them
issuer name:

21. Retirement or pension accounts
Examples: interests in iRA, ERiSA, Keogh, 401 (k)l 403(b), thrift savings accounts, or other pension or profit-shaan plans

No
l:l Yes. List each account separately.
Type of account: institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with iandiords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

-No

|:l Yes. _____________________ institution name or individuai:

23. Annuities (A contract for a periodic payment of money to youl either for life or for a number of years)

-No

|:| Yes _____________ issuer name and description.

24. lnterests' in an education iRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U. S. C. §§ 530(b)(1), 529A(b), and 529(b)(1).

- No
|:| Yes _____________ institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
- No

l:l Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: lnternet domain names, websites, proceeds from royalties and licensing agreements

l No
l:l Yes. Give specific information about them...

27. l_icenses, franchises, and other general intangibles
Examples: Buiiding permits, exclusive iicenses, cooperative association hoidings, liquor iicenses, professional licenses

-No

l:l Yes. Give specific information about them...

, .
Money or propertyvowed to you? . . , v .. . . Current value of t_he.v
portion you own?
Do not deduct secured
claims or exemptions

28. Tax refunds owed to you
l No
l:l Yes. Give specific information about them, including whether you already filed the returns and the tax years .......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlementl property settlement

-No

l:l Yes. Give speciHc information ......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

ll No

l:l Yes. Give specific information..
official Form 106/va schedule A/B.- Property page 4
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Debtor 1 Doreen Hoffman > v '~ Case number (ifknown)

 

31. interests in insurance policies
Examples: Heaith, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

'No

l:l Yes. Name the insurance company of each policy and list its value. ‘
Company name: Beneficiary: Surrender or refund
` value:

32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance poiicy, or are currently entitled to receive property because
someone has died.

mNo

l:l Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

'No

l:l Yes. Describe each claim .........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
- No

l:l Yes. Describe each claim .........

35. Any financial assets you did not already list
l No

l:l Yes. Give specific information..

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here $1,205-00

 

 

 

mcribe Any Business-Reiated Property You 0wn or Have an interest ln. List any real estate in Part1.

 

37. Do you own or have any legal or equitable interest in any business~reiated property?
l No. co to Part e.

l:l Yes. Go to line 38.

Part 62 ' Describe Any Fann- and Commercial Fishing-Reiated Property You Own or Have an interest ln.
if you own or have an interest in farmland. list it in Part ‘i.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
l No. Go to Part 7.

l:l Yes. Go to line 47,

Describe Aii`Propeity You own or Have an interest in That You Did Not ListAbove

 

 

53. Do you have other property of any kind you did not already iist?
Examples: Season tickets, country club membership

lNo

l:l Yes. Give specific information .........

 

54. Add the dollar value of ali of your entries from Part 7. Write that number here .................................... $0_00

 

 

 

Ol“Hcial Form 106AlB Schedule A/B: Property ' page 5
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List the Totais of Each Part of this Form

 

 

 

 

 

55. Part1: Total real estate, lin_e 2 $427,500.00
56. Part 2: Total vehicles, line 5 $4,261 .00

57. Part 3: Total personal and household items, line 15 $4,750_00

58. Part 4: Total financial assets, line 36 . $1,205.00

59. Part 5: Total business-related property, line 45 $0_00'

60. Part 6: Total farm- and fishing-related property, line 52 $0_00

61. Part 7: Total other property not iisted, line 54 + $0.00

62. Total personal property. Add lines 56 through 61 $10,216_00 Copy personal property total $10,216,00
63. Total of all property on Schedule AlB. Add line 55 + line 62 $437,716_00
Ochial Form 106AlB Schedule AlB: Property page 6

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’Fii`i _i'n{th‘is information to identify ydu'rlc_ajse:

Debtor1 Doreen Hoffman .
First Name Middie Name Last Name

Debtor 2
(Spouse if, niing) First Name Middie Name ~ Last Name

 

United States Bankruptcy Court for the: EASTERN DlSTRlCT OF NEW YORK

 

Case number _
(ifknown) |:| Check if this is an

amended filing

 

 

 

Official Form 1060
Schedule C: The Property Your Claim as Exempt 4/16

 

Be as complete and accurate as poss ble. if two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106AiB) as your source, list the property that you claim as exempt, if more space is
needed, fill out and attach to this page as many copies of Part 2.' Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

ldentify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one on/y, even if yourspouse is filing With you.
- [l You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
l You are claiming federal exemptions 11 U.S.C. § 522(b)(2)
2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

   
 
 

   

 

2006 Ford Explorer $4 261_00 - $461_00 11 U.S.C. § 522(d)(2)

 

Line from Schedule A/B: 3.1
m 100% of fair market value, up to
any applicable statutory limit

 

household goods & furnishings $2 500 00 l $2 500_00 11 U.S.C. § 522(d)(3)
Line from schedule A/B: 6.1 ’ ` ’

 

13 100% affair market vaiue, up to
any applicable statutory limit

 

used television, used computer $400_00 l n $400_00 11 U.S.C. § 522(d)(3)
Line from Schedule A/B: 7.1

 

m 100% of fair market value, up to
any applicable statutory limit

 

wearing apparel $600_00 $600_00 11 U.S.C. § 522(d)(3)
Line from Schedule A/B: 'l 1.1

 

m 100% of fair market value, up to
any applicable statutory limit

 

Line from Schedule A/B: 12.1 ’

 

m 100% of fair market value, up to
any applicable statutory limit

 

Ofiicial Form 1060 Schedule C: The Property You Claim as Exempt page 1 of2
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Debtor1 Doreen Hoffman ' Case number (if known)
decn`hon . ..

 
 
          

Cash on hand _ $80_00 $80_00 11 U.S.C. § 522(d)(5)
Line from Schedule A/B: 1 6.1

 

m 100% of fair market value, up to
any applicable statutory limit

 

Chase llllanhattan Bank $1 125_00 l $1 125_00 11 U.S.C. § 522(d)(5)
i_ine from schedule A/B: 17.1 ’ ’

 

m 100% of fair market value, up to
any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/ 19 and every 3 years after that for cases filed on or after the date of adjustment.)

l No
l:l Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
l:l No
l:l Yes
Ofncial Form 1060 Schedule C: The Property You Claim as Exempt page 2 of 2

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Fiiiin:t'h'is information to identify-your ease .

Debtor1 Doreen Hoffman

First Name

 

Middie Name Last Name

Debtor 2
(Spouse if, filing)

 

First Name Middie Name Last Name

United Stafes Bankruptcy Court for the: EASTERN DlSTRlCT OF NEW YORK

 

Case number-
(if known)

 

|:| Check if this is an
amended filing

 

 

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property `12/15

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information. if more space
is needed, copy the Additional Page, fill it out, number th'e entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).

1. Do any creditors have claims secured by your property?
l:l No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.
l Yes. Fili in all of the information below.

List All Secured Claims

 

   
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

-2. List all secured claims, if a creditor has more than one secured claim, list he creditor separately Column A Co/ymn B' Column C
for each claim`.' if mo f' ha`n one creditor has' a particular claim list _the Ar`rio"l`m o_f_clairn Valu_e o_f_ collateral Un`s `cu`r`ed
much as possible ,_ claims in alphabetical order according to_ the creditors name.__ 'D'o not de act the that suppgrts this portion-
- \ - value of oollaterai. \ciaim .~ ~. . if any \ '
2 1 l~lenry Weinstein Describe the property that secures the claim: $100,000.00 $427,500.00 $100,000.00
Cled"°"$ Name 1 63 Roe Avenue, East Patchogue,
NY 1 1 772
fthed fl,th l' ':
37 Maple Ave- n latisplc;. ate you ie e c aim is Check all that
Cedarhurst, NY 1151 6 |:| Comingem
Numberl Street, City, State & Zip Code l Un|iquidated
d - Disputed
Who owes the debt? Check one. Nature of lien. Check ali that apply.
- Debtor1 only l:l An agreement you made (such as mortgage or secured
l:l Debtor 2 only car loan)
l:l Debtor1 and Debtor 2 only l:l Statutory lien (such as tax lienl mechanic's lien)
l:l At least one of the debtors and another l:l Judgment lien from a lawsuit
l:l Check if this claim relates to a l Other (including a right to Offset) SeCOnd MOl'fgage
community debt
Date debt was incurred Last 4 digits of account number
2.2 New City Funding Corp. Describe the Property that secures the claim= $3,800.00 $4,261.00 $0.00
Cred"°rs Name 2006 Ford xPL suv
I
PO Box 1 21 ;\psplt;f the date you file, the claim is: Check all that
Stony Point, i\lY 10980 |:| Comingem
Numberl Street, City, State & Zip Code l:] Unliquidated
m Disputed
Who owes the debt? Check one. Natu re of lien. Check ali that appiy.
- Debtor 1 only An agreement you made (such as mortgage or secured
l:l Debtor 2 only car loan)
l:l Debtor1 and Debtor2 only l:l Statutory lien (such as taxlien, mechanic's lien)
|:l At least one of the debtors and another l:l Judgment lien from a lawsuit
l:l Check if this claim relates to a l:l Other (including a right to oftset)
community debt
Date debtwas incurred Last 4 digits of account number
Ot&cial Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 3

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Best Case Bankruptcy

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Debtor 1 Doreen Hoffman

Case number (ifknow)

 

First Name

 

2_3 Rushmore Loan

 

 

Middie Name

Last Naml=.l

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Managemenf Describe the property that secures the claim: UnknOWn $427,500.00 Unl(nOWn
Credi‘°"$ Name 163 Roe Ave, Patchogue, NY
[SERV|CER for US Bank NA]
A fth dt f'l,th limis:Ch ltht
PO Box52708 apspl¢; e aeyou ie eca eckai a
lrvine, CA 92619 [| Comingem
Number, Street, City, State & Zip Code m Unliquidated
l:l Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
' Debtor 1 On|y l:l An agreement you made (such as mortgage or secured
l:l Debtor 2 only car loan)
m Debtor1 and Debtor2 only l:l Statutory lien (such as tax lien, mechanic's lien)
l:l At least one of the debtors and another l:l Judgment lien from a lawsuit
l:] Check if this claim relates to a l:l Other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
2.4 Suffolk County Water Describe the Property fhafsecures the claim: $300.00 $427,500.00 $0.00
Cred“°"$ Name 163 Roe Avenue, East Patchogue,
NY 1 1 772
. A fth d t f'l th la'm's:Ch lrth
2045 Route 1112, Suite 5 ap`;[(y’_ 9 a ey°u 'e' ec ' ' e°ka at
Coram, NY 11727 |:| Com;ngem
Number, Street, City. State & Zip Codl=.l l:l Unquuidated
l:l Disputed
Who owes the debt? Check one. Nature of lien. Check ali that apply.
- Debtor 1 only l:l An agreement you made (such as mortgage or secured
l:l Debtor 2 only car loan).
m Debtor1 and Debtor 2 °n|y l Statutory lien (such as tax lien. mechanic's lien)
l:l At least one of the debtors and another l:l Judgment lien from a lawsuit
l:l Check if this claim relates to a l:l Other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
2 5 USBank NA as
' Le a|Tif_|eTl-usfee Describe the property that secures the claim: $665,258-00 $427,500-00 $237,758-00
C'ed"°"$ Name 1 63 Roe Avenue, East Patchogue,
NY 1 1 772
. . A fthdt f'l, l":
200 Busmess Park Drlve ap:l;). e a eyou re the c aim is Check ali that
Armonk, NY 1 0504 |:] Comingem
Number, Street, Cityl State & Zip Code l:l Un|iquidated
l:] Disputed
Who owes the debt? Check one. Nature of lien. Check ali that apply.
' Debtor1 On|y m An agreement you made (such as mortgage or secured
l:l Debtor 2 only car loan)
l:l Debtor1 and Debtor2 only l:l Statutory lien (such as tax lienl mechanic's lien)
l:l At least one of the debtors and another l:l Judgment lien from a lawsuit
l:l check if this claim relates to a l Other (including a righuo OHset) First liliortgage
community debt
Date debt was incurred Last 4 digits of account number
Add the dollar value ofyour entries in Column A on this page. Write that number here: $769,358_00
Ofncial Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 3

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Debtor 1 Doreen Hoffman ~ Case number (ifknew)

 

 

First Name Middie Name Last Name

ifthis is the last page ofyour form add the dollar value totals from all pages. _
Write that number here: ’ $769,358.00

List Others to Be Notified for a Debt That You A|ready Listed

 

debts' in Part 1, do n_ot fill _out or submitthis page

Official Form 106D Additional Page of Schedule D: Creditors Who Hav_e Claims Secured by Property page 3 of 3

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i'-'.il`iri_ri thisii'nform'ation to identify .y'oi:ir case`:

Debtor1 Doreen Hoffman
First Name Middie Name Last Name

 

Debtor 2
(Spouse itl filing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: EASTERN DiSTRlCT OF NEW YORK

 

Case number
(ifknown) |:] Check if this is an

amended filing

 

 

 

Official Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRlOR|TY claims and Part 2 for creditors with NONPRlORiTY claims, List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule AIB: Property (Official Form 106AIB) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. if more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
ieft. Attach the Continuation Page to this page. if you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

4 must All of Your PRlOR|TY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?
l:l Nc_ cc ic Part 2.

- Yes.

2. List ali of your priority unsecured claims, if a creditor has more than one priority unsecured claim list the creditor separately for each ciaim. For each claim listed,
' identify what type fclaim it' i's`_ lf"` a claim has both priority and nonprionty amounts,` list that claim here and show both priority and nonprionty_ a t§`. A`s m“uch as
possible, list the ciairns' in `alphabéticai order according to the creditoi"s name. if you have more than tviio priority unsecured claims, till out the 0ontinuation Page of

' Part1 if m_ore than one creditor holds a _par icui_ar claim, list the other creditors i_n Part 3.

 

  

 

 

(For an explanation of each type of ciaim, see the instructions forthis form in the instruction bookiet.)

 

 

 

 

 

Total claim - Priority Nonpriority`
. . ampl!.n.! a.m¢.?.".llf
N.Y. state Dept of Taxation LasM digits oraccounf number $4,623.81 $4,623.81 $0.00
Priority Creditor's Name
NYS Assessment Receivables When was the debt incurred?
PO Box 4127
Binghamton, NY 13902-4127
Number Street City State Zip Code As ofthe date you fiie, the claim is: Check all that apply
Who incurred the debt? Check one. |:] Comingent
l Debtor1 Only l:i uhiiquidaied
m Debtor 2 only m Disputed
[] Debtor1 and Debtor 2 only Type of PRlOR|TY unsecured claim:
l:] At least one of the debtors and another m D°mesm" support obligations
l:] Check if this claim is for a community debt l Taxes and certain other debts you owe the government
is the claim subjectf.o offset? l:l Claims for death or personal injury while you were intoxicated
l NO l:i oiher. specify
m Yes
l
Official Form 106 EiF Schedule ElF: Creditors Who Have Unsecured Claims Page 1 of 9

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Case 8-18-72852-reg

Debtor 1 Doreen Hoffman

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Case number (ifkncw)

 

U.S. internal Revenue Service
Priority Creditor's Name
PO Box 804527
Cincinnati, OH 45280-4527
Number Street City State Zip Code

Who incurred the debt? Check one.

 

 

l Debtor1 only

l:l Debtor 2 only

l:l Debtor1 and Debtor2 only

l:l At least one of the debtors and another

l:l Check if this claim is for a community debt
is the claim subject to offset?

. No
l:l Yes

 

Last 4 digits cf account number $37,000.00 Unknown Unknown

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply
l Contingent

l unliquidated

l:l Disputed
Type of PRlOR|TY unsecured claim:

l:l Domestic support obligations
l Taxes and certain other debts you owe the government
l:l Claims for death or personal injury while you were intoxicated

l:l Other. Specify

 

 

List All cf Your NONPRlORiTY unsecured claims

 

3. Do any creditors have nonpriority unsecured claims against you?

l:l No_ You have nothing to report in this parf. Submit this form to the court with your other schedules.

 
  
 

 
   
  

 

 

 

 

 

4r l f th sradit§ maneuveth l ' esif.<lr..has..ms>ls time
` ` l ,, .. snfifl'..whaiiy'li_. Qf claim Claim§alrsady..iris=lli .v t
t`the other creditors in Part 3.lf you"ha`ve more than three n'onprioiity unsecured claims fill out the'Continl`iat n`Pa
,.F_.’.a..it.§.- " " ' ’ ` ' ’ "' ' "`
Total claim

4.1 AMCMA Last 4 digits of account number $335_08
Nonpiiority Creditor's Name
4 Westchester Piaza, Suite 110 When Was the debt incurred?
Elmsford, NY 10523 `
Number Street City State Zip Code As of the date you fiie, the claim is: Check ali that apply
Who incurred the debt? Check one. '
- Debtor1 only l:l Contingent
l:l Debtor 2 only l:l Unliquidated
l:l Debtor1 and Debtor2 only l:l Disputed
m At least one of the debtors and another Type °f NONPRlORlT¥ unsecured claim:
m Check if this claim is for a community m Student loans
debt - l:l Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
l No l:l Debts to pension or profit-sharing plansl and other similar debts
m Yes l Other. Specify

Otficial Form 106 E/F ` Schedule E/F: Creditors Who Have Unsecured Claims' Page 2 of 9

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Best Case Bankruptcy

Case 8-18-72852-reg Doc 1 Filed 04/26/18 Entered 04/27/18 09:59:11,

Debtor1 Doreen Hoffman

Case' number (if l<ncw)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

American Nledical Collection Last4 digits cf account number x569 $350.08
Nonpriority Creditor's Name
4 Westchester P|aza When was the debt incurred?
Elmsford, NY 1 0523
Number Street City State Zip Code As ofthe date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor1 only m Contingent
l:l Debtor 2 only m Unliquidated
m Debtor1 and Debtor2 only m Disputed
m At least one of the debtors and another Type of NONPRlORlTY unsecured olnlml
m Check if this claim is for a community m Student loans
debt m Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
l No l:l Debts to pension or profit-sharing plans, and other similar debts
m Yes l Other. Specify
Atiantic Credit & Finance Laet4 digits Of accounfnurnber Unknown
Nonpriority Creditor's Name
PO Box 2001 When was the debt incurred?
Warren, Mi 48090
Nu mber Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only l:l Contingent
l:l Debtor 2 only l:l Unliquidated
l:l Debtor1 and Debtor2 only l:l Disputed
l:l At least one of the debtors and another Type of NONPRlORlTY unsecured olalml
i:l check ifthis claim is for a community l:l Sl"del“ l°ans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? - report as priority claims ~
- No m Debts to pension or profit-shaan plansl and other similar debts
l:l Yes l Other. Specify Collection for Credit One Bank # xx813
Credit Coilections Services Laef4 digits of account number x274 $637.03
Nonpriority Creditor's Name
725 Canton Street When was the debt incurred?
Norwood, lll|A 02062
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor1 only l:l Contingent
l:l Debtorzcniy l:l unliquidated
l:l Debtor1 and Debtor 2 only l:l Disputed
l:l At least one of the debtors and another Type °f NONPRlORlTY unsecured clnlm:
l:l Check if this claim is for a community l:l Sl“oonl loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
No m Debts to pension or profit-shaan plans. and other similar debts
m Y€S . other. specify
Ofncial Form 106 E/F Schedule ElF: Creditors Who Have Unsecured Claims Page 3 of 9

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Best Case Bankruptcy

Case 8-18-72852-reg

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Debtor1 Doreen Hoffman Case number (ill<ncw)

4.5 Credit One Bank Last 4 digits of account number )(813 $675.00
Nonpriority Creditor's Name
PO BOX 60500 When was the debt incurred?
City of lndustry, CA 91715-0500
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor1 only [:l Contingent
l:l Debtor 2 only [:l Unliquidated
l:l Debtor1 and Debtor2 only [:l Disputed
l:l At least one of the debtors and another Type °f NONPRlORlTY unsecured claim:
l:l Check if this claim is for a community l:l Student loans
debt [:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l - l:l Debts to pension or profit-sharing plans, and other similar debts

No

l:l Yes l Other. Specify

4.6 Debt RecoveryIPendrick Capital Last 4 digits Of account number $246.40
Nonpriority Creditor’s Name
PO Box 9003 When was the debt incurred?
Syosset, NY 11791
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
`. Debtor1 only [:l Contingent
l:l ooblorzonly l:l unliquidated
l:l Debtor1 and Debtor2 only l:l Disputed
l:l At least one of the debtors and another Type °r NONPRlORlTY unsecured elaun:
l:l Check if this claim is for a community l:l Student loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No l:l Debts to pension or prot'lt-sharing plans, and other similar debts
l:l Yes l Other. Specify

4.7 Exc|uder Security Systems Last 4 digits of account number $675_00
Nonpriority Creditor's Name
PO Box 1286 When was the debt incurred?
llilassapequa, NY 11758
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only [:l Contingent
l:l Debtor2 only l:l unliquidated
l:l Debtor1 and Debtor2 only l:l Disputed
l:l At least one of the debtors and another Type °r NONPRlORlTY unsecured claim:
l:l check if this claim is for a community l:l Student loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
NO - [:l Debts to pension or profit-sharing plans, and other similar debts
l:l Yes Other. Specify

Otficial Form 106 E/F Schedule ElF: Creditors Who Have Unsecured Claims Page 4 of 9

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Case 8-18-72852-reg

Debtor 1 Doreen Hoffman

 

 

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Case number (il know)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4_3 Fazzio Law Last 4 digits of account number $650.00
Nonpriority Creditor's Name
1 64 Frank|in Turnpike When was the debt incurred?
Nlahwah, NJ 07430
Number Street City State le Code As ofthe date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only l:l Contingent
m Debtor2 only l:l Unliquidated
m Debtor1 and Debtor2 onl t:l Dis uted

y P
m At least one of the debtors and another Type °r NONpRlORlTY unsecured claim:
l:l check ifthis claim is for a community l:l eludenn°nns
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l NO m Debts to pension or profit-sharing plans, and other similar debts
_ l:l Yes - Other. Specify

4.9 ' Joyce Cjccone Last 4 digits of account number $4,200_00
Nonpriority Creditor's Name
9337 Sanfa Monica Way When was the debt incurred?
New Port Richey, FL 34655
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only l:l Contingent
l:l Debtor2 only m Unliquidated
l:l Debtor1 and Debtor2 only l:l Disputed
l:l At least one of the debtors and another Type er NONPRlORlTY unsecured claim:
l:l check ifthis claim is for a community l:l student '°nns
debt t:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims _
l No l:l Debts to pension or profit-sharing plans, and other similar debts
m Yes l other. specify

4.1 . .

0 LenOX Hlll HOSplell Last 4 digits of account number X137 $4,703-00
Nonpriority Creditor's Name
co. Aufomafed Financial When was the debt incurred?
4505 Veterans lillem Hwy, Ste H
Lake Ronkonkoma, NY 1 1779
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
. Debtor1 only l:l Contingent
|:l Debtor2 only l:l unliquidated
l:l Debtor1 and Debtor 2 only l:l Disputed
m At least one of the debtors and another Type er NONPRlORlTY unsecured elaun:
l:l check ifthis claim is for a community l:l sludenf loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
m 0 l:l Debts to pension or profit-sharing plans, and other similar debts

N
|:l Yes ll olhar_ Specify
Officla| Form 106 E/F Schedule ElF: Creditors Who Have Unsecured Claims Page 5 of 9

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Case 8-18-72852-reg

D_cthr 1 Doreen Hoffman

 

 

 

 

 

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Case number (ifknow)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.1 . .
1 Ll AneStheSlOlOg|St Last 4 digits of account number $5,004-21
Nonpriority Creditor's Name
3 Boy|e Road When was the debt incurred?
Selden, NY11784
Number Street City State le Code ' As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor1 only l:l Contingent
l:l Debtor2 only l:l Unliquidated
l:l Debtor1 and Debtor2 only l:l Disputed
l:l At least one of the debtors and another Type °r NONPRlORl-ry unsecured clnlnn
l:l check ifthis claim ic fora community l:l sludenn°ans
debt . l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No l:l Debts to pension or profit-sharing plans, and other similar debts
l:l Yes l Other. Specify
4.1 . .
2 Llnda Ceraml Last 4 digits of account number $1,000-00
Nonpriority Creditor's Name
1 07 |_aure| Street When was the debt incurred?
Patchogue, NY 1 1 772
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only l:l Contingent
l:l Debtor2 only l:l Unliquidated
l:l Debtor1 and Debtor2 only l:l Disputed
l:l At least one of the debtors and another Type °r NONPRlORlTY unsecured claim:
l:l Check ifthis claim is for a community l:l Sludenrl°ane
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- 0 l:l Debts to pension or profit-shaan plansl and other similar debts
N
l:l Yes l Other. Specify
4.1 y
3 Mullen & lannarone PC Last 4 digits of account number $5,088-37
' Nonpriority Creditor's Name
300 East Majn Street When was the debt incurred?
Smithtown, l\lY 1 1787
Number Street City State le Code As of the date you tile, the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor1 only l:l Contingent
l:l Debtor2 only l:l Unliquidated
l:l Debtor1 and Debtor 2 only l:l Disputed
l:l At least one of the debtors and another Type er NONPRlORlTY unsecured claim:
l:l check ifthis claim ic for a community l:l sludenn°ans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No l:l Debts to pension or profit-sharing plans, and other similar debts
l:l Yes l Other. Specify
Otficial Form 106 E/F Schedule ElF: Creditors Who Have Unsecured Claims Page 6 of9

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Case 8-18-72852-reg

Debtor1 Doreen Hoffman

 

 

 

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Case number (itlgnow)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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4.1 . .
Na`flOnal Gt`ld Last4 digits of account number $1’500-00
4 .
Nonpriority Creditor's Name
PO BOX 11791 When was the debt incurred?
Newark, NJ 071 01 .
Number Street City State Z|p Code As ofthe date you file, -the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor1 only l:l Contingent
l:l Debtor2 only l:l unliquidated
l:l Debtor1 and Debtor 2 only l:l Disputed
l:l At least one of the debtors and another Type er NONPRlORlTY unsecured claim:
l:l Check if this claim is for a community l:l Student loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No l:l Debts to pension or profit-sharing plans, and other similar debts
l:l Yes l Other. Specify
4.1 . . .
5 Optlmum Cable Vlslon Last 4 digits of account number $265-00
Nonpriority Creditor's Name
1111 Stewar[ Ave_ When was the debt incurred?
Bethpage, NY 11714
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. ' '
- Debtor1 only l:l Contingent
l:l Debtor 2 Only l:l Unliquidated
l:l Debtor1 and Debtor2 only l:l Disputed
l:l At least one of the debtors and another Type cr NONPRlORlTY unsecured claim:
l:l check ifthis claim is for a community l:l Student l°ans _
debt ~ l:l Obligations arising out of a separation agreement or divorce that you did not
4 ls the claim subject to offset? report as priority claims
l No l:l Debts to pension or profit-sharing plans, and other similar debts‘
l:l Yes n Other. Specify
4.1
5 PSEG"L| Last 4 digits of account number $1.,100-00
Nonpriority Creditor's Name
Po Box 888 When was the debt incurred?
Hicksville, NY 11 802
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only l:l Contingent
l:l Debtor 2 only l:l Unliquidated
l:l Debtor1 and Debtor2 only l:l Disputed
l:l At least one of the debtors and another Type °r NONPRlORiTY unsecured claim:
l:l check ifthis claim is for a community l:l Student '°ans
debt ' l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims t
l NO l:l Debts to pension or profit-sharing plans, and other similar debts
l:l Yes l Other. Specify
Otficial Form 106 E/F Schedule ElF: Creditors Who Have Unsecured Claims Page 7 of 9

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Case 8-18-72852-reg

Debtor1 Doreen Hoffman

 

 

 

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Case number (ifknow)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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4.1 . .
7 Quest Dlagnostlcs Last 4 digits of account number $850.00
Nonpriority Creditor's Name z
PO BOX 7303 When was the debt incurred?
Hollister, llliO 65673-7308
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
. Debtor1 only l:l Contingent
l:] Debtor 2 only l:l Unliquidated
lI] Debtor1 and Debtor2 only l:l Disputed
l:l At least one of the debtors and another Type °r NONPRlORlTY unsecured claim:
l:] Check if this claim is for a community l:l Student loans .
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No l:l Debts to pension or profit-shaan plans, and other similar debts
l:l Yes l Other. Specify
4.1 . . . '
8 Ralnman irrigation lnc Last 4 digits of account number $255-26
Nonpriority Creditor's Name
840 Ljnco|n Ave, Unjt 10 When was the debt incurred?
Bohemia, NY 11716
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. '
- Debtor1 only l:l Contingent
lI] Debtor2 only l:l unliquidated
l:l Debtor1 and Debtor2 only l:l Disputed
l:l At least one of the debtors and another Type er NONPRlORlTY unsecured claim:
l:l Check if this claim is for a community l:l Student loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l NO l:l Debts to pension or profit-sharing plans, and other similar debts
l:l Yes - Other. Specify
4.1 . . .
9 RT Financial (Langone Nledlcal) Last4 digits of account number $50.00
Nonpriority Creditor's Name
2 Te|eport Dr, Suite 302 When Was the debtlncl|l'l’ed?
Staten lsland, NY 10311
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only l:l Contingent
l:l Debtor 2 only l:l Unliquidated
l:l Debtor1 and Debtor2 only l:l Disputed
l:l At least one of the debtors and another Type °r NONPRlORlTY unsecured claim:
lIl check ifthis claim is fora community l:l Studenn°ans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l 0 l:l Debts to pension or profit-sharing plans, and other similar debts
N ,
l:l Yes l Other. Specify
Ofilcial Fonn 106 ElF Schedule ElF: Creditors Who Have Unsecured Claims Page 8 ofS .

BestCase Bankruptcy

Case 8-18-72852-reg

Debtor 1 Doreen Hoffman

4.2
0

Stewart Brody DDS

 

Nonpriority Creditor's Name
c-o Richard Sokoloff Esq.
900 S. 2nd Street, Suite 1

Ronkonkoma, NY 11779
Number Street City State le Code

Who incurred the debt? Check one.

m Debtor1 only

l:l Debtor 2 only

l:l Debtor 1 and Debtor2 only

l:l At least one of the debtors and another

l:l Check ifthis claim is fora community
debt

ls the claim subject to offset?

- No
l:l Yes

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Case number (ifknow)

 

$768.84

Last 4 digits of account number

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

l:l Contingent
l:l unliquidated

l:l Disputed
Type of NONPRlORiTY unsecured claim:

l:l Student loans

l:l Obligations arising out of a separation agreement or divorce that you did not
report as priority claims ~

l:l Debts to pension or profit-sharing plans, and other similar debts

l Other. Specify

 

 

List others to se Notified About a Debt That You Already Listed

5. Use this page only ifyou have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. lf you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

m the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim. -

 

 

 

 

"Total claim
Sa. Domestic support obligations Sa. $ 0_00
T9f_.=:l.l
. claims
fro'in Part1 Sb. Taxes and certain other debts you owe the govemment 6b_ $ 41 ’623_81
' 6c. Claims for death or personal injury while you were intoxicated 6c. $ 0_00
6d_ Other. Add all other priority unsecured claims. Write that amount here. 6d. $ (]_00
nw de 6e. Total Priority. Add lines 6a through 6d. 6e. $ 41'623_81
Total Claim .
, , Ef. Student loans 6f. $ 0_00
Total
'claims
from _l=art 2 Sg. Obligations arising out of a separation agreement or divorce that
you did not report as priority claims 6§- 0'00
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. 0_00
6i. Other. Add all other n lion' uns d l ‘ .W `t th t t 6'.
here. no p ty ecure c arms rl e a amoun l 28,353_27
1 1 _ __ __ 6j. Total Nonpriority. Add lines 6f through 6i. Sj. 28,353_27

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Schedule ElF: Creditors Who Have Unsecured Claims

 

 

 

 

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Best Case Bankruptcy

  

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'F_il'l'iil this information to identify your case:’

  

 

 

 

Debtor 1 Doreen Hoffman y
First Name Middie Name Last Name

Debtor 2 `

(Spouse if, filing) First Name Middie Name Last Name

United States Bankruptcy Court for the: EASTERN DlSTRlCT OF NEW YORK

Case number
(ifknown) [| Check if this is an
amended filing

 

 

official Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12115

Be as complete and accurate as possible. lt two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any

additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
l:l No. Check this box and tile this form with the court With your other schedules You have nothing else to report on this form.

l Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Ofticial Form 106 A/B).

List separately each person or company with whom you have the contract or |ease. Then state what each contract or lease is for (for

 

2.
example, rent, vehicle |ease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
4 and unexpired leases. ' .
, , _ Person or company with _whom you have the contract or lease , State what the contract orv lease is for
-‘ Name,'Numb'er. streetl cityl state and zlP code ` ' ' ' ’
2-1 New City Funding Corp. installment car loan
PO Box 121 2006 Ford Explorer
Stony Point, NY 10980 4 $300 per month payment
Ofncial Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

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Fill in this information to identify you'r case:

Debtor1 Doreen Hoffman
First Name Middie Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middie Name Last Name

 

 

United States Bankruptcy Court for the: EASTERN DlSTRlCT OF NEW YORK

Case number `
(ifknown) ~ |:| Check if this is an
amended Hling

 

 

 

Otficial Form 106H _
Schedule H: Your Codebtors 12115

 

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. if two married
people are filing together, both are equally responsible for supplying correct information. if more space is needed, copy the Additional Page,
fill it out, and number the entries' in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (if you are filing a joint case, do not list elmer spouse as a codebtor.

- No
l:l Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, Califo`rnia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and V\isconsin.)

l No. co 10 line 3.
l:l Yes. Did your spouse, former spouse, or legal equivalent live With you at the time?

3. in Column 1, list ali of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Officiai
Form 106D), Schedule ElF (Officiai Form 106EiF), or Schedule G (Officiai Form 1066). Use Schedule D, Schedule EIF, or Schedule G to fill
out Column 2.

 

 

 

 

 

 

Column 1: Yo_u_r codebtor_ , Column 2: _Th_e creditor to whom you owe the debt
Nam8,' Numb8i’, S!r88f; Cily Sfaf8 and ZlP God8 "‘ """" " ' ' ‘ ‘ "'""“ " ` ’ Check all Schedules that app]y_""' " “ ’ ‘ "
3.1 [l Schedule D, line
Name . [l Schedule E/F, line
[l Schedule G, line
Number Street
City State Z|P Code
3.2 l:l Schedule D, line
Name El Schedule E/F, line
El Schedule G, line
Number Street
City State ZiP Code
Otficial Form 106H Schedule H: Your Codebtors ' Page 1 of 1

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Fili=im this information ,t.o'id.e.nti

Debtor1 Doreen Hoffman

Debtor 2
(Spouse, iftiling)

 

United States Bankruptcy Court for the: EASTERN DlSTRlCT OF NEW YORK

 

Case number Check if this is:
('fk"°“'") ' l:l An amended filing

l:l A supplement showing postpetition chapter
13 income as of the following date:

Otficial Form 106| _ m
Schedule i: Your income 12115

Be as complete and accurate as possible. if two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

wscribe Employment

1. Fili in your employment

 

 

 

 

    

 

 

 

 

 

 

information. b,t
if you have more than one job, ` l Employed m Employed
attach a separate page with Empl°yme"t Sfafus m Not em lo ed
information about additional m Not employed p y
employers. _

Occupation clearance counsel
include pait-time, seasonal, or t ‘ _
self-employed work. Employer 5 name Kenslngton

 

Occupation may include student Employer's address
or homemaker, if it applies

 

How long employed there?

 

Give Detaiis About Monthiy income

Estimate monthly income as of the date you file this form. if you have nothing to report for any line, write $0 in the space. include your non-filing
spouse unless you are separated.

if you or your non~tiling spouse have more than one employer, combine the information for all employers forthat person on the lines below. if you need
more space, attach a separate sheet to this form.

 

 

 

List monthly gross wages, saiary, and commissions (before all payroll

 

 

 

2- deductions). lf not paid monthly, calculate what the monthly wage would be. 2- $ v 61259'18 $ NlA
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ ` NIA
4. Calculate gross lncome. Add line 2 + line 3. 4. $ 6,259.18 $ NlA

 

 

 

 

 

~Ofticial Form 1061 : Schedule I: Your Income page 1

Debtor1

10.

11.

12.

13.

Official Form 1061

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Doreen Hoffman

Copy line 4 here

 

List all payroll deductions:

5a.
5b.
Sc.
5d.
5e.
5f.

59.
5h.

Tax, Medicare, and Social Security deductions
llliandatory contributions for retirement plans
Voluntary contributions for retirement plans
Required repayments of retirement fund loans
insurance

Domestic support obligations

Union dues

Other deductions. Specify: NY State income TaX

 

NY SUiISDl TaX

 

liliedicai insurance

 

Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+59+5h.

Calculate total monthly take-home pay. Subtract line 6 from line 4.

List all other income regularly received:

8a.

8b.
80.

8d.
8e.
8f.

Sg.
8h.

Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses and the total
monthly net income.

interest and dividends

Famiiy support payments that you, a non-filing spouse, or a dependent
regularly receive

include alimony, spousal support child support, maintenance, divorce
settlement, and property settlement.

Unempioyment compensation

Social Security

Other government assistance that you regularly receive

include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benetits under the Supplemental
Nutrition Assistance Program) or housing subsidies

Specify:

 

Pension or retirement income
Other monthly income. Specify:

 

Add all other income. Add lines 8a+8b+80+8d+8e+8f+89+8h.

Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor1 and Debtor 2 or non-filing spouse.

Case number (ifknown)

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

State ali other regular contributions to the expenses that you list in Schedule J.

include contributions from an unmarried partner, members
other friends or relatives.

of your householdl your dependents your roommates, and

Do not include any amounts already included in lines 2~10 or amounts that are not available to pay expenses listed in Schedule J.
Specify:

Add the amount in the last column of line 10 to lthe amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedu/es and Statistical Summary of Certain Liabilities and Related Data, if it

 

applies

Do you expect an increase or decrease within the year after you file this form?

l
|:i

No.

., .¢l
4- 6,259.18
5a. $ 792.83 $ NIA
5b. $ 0.00 $ NIA
50. $ 0.00 $ NIA
5d. $ 0.00 $ NIA
5e. $ 0.00 $ . NIA
5f. ' $ 0.00 $ NIA
59. $ 0.00 $ . NIA
5h.+ $ 200.59 $ NIA
$ 2.60 $ NIA
$ 230.40 $ NIA
$ 1,226.42 $ NIA
$ 5,032.76 $ NIA
8a. $ 1,500.00 $ NIA
8b. $ 0.00 $ NIA
8c. $ 0.00 $ NIA
8d. $ 0.00 $ NIA
8e. $ 0.00 $ NIA
8f. $ 0.00 $ NIA
Bg. $ 0.00 $ NIA
8h. $ 0.00 $ NIA
9- $ 1,500.00 $ NIA
10. $ 6,532.76 + $ NIA = $ 6,532.76
11. +$ 0.00
$ 6,532.76
Combined

 

 

 

monthly income

 

Yes. Explain: |

 

Schedule I: Your Income

page 2

 

 

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Eiii'.in'i_his information 16 identify your case

 

 

Debtor1 Doreen Hoffman Check if this iSI

[_| An amended filing
Debtor2 [_| A supplement showing postpetition chapter
(Spouse, if nling) 13 expenses as of the following date:
United States Bankruptcy Court for the: EASTERN DlSTRlCT OF NEW YORK MM / DD /YYYY

 

Case numbe r
(if known)

 

 

 

Otficial Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this fomi. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

Describe Your Household
1. is this a joint case?

l No. Go to line 2.
i:i Yes. Does Debtor 2 live in a separate househo|d?

i:.i No
i:.i Yes. Debtor 2 must file Ofiicial Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? ' l No

   

 

 

 

 

DO nOt list Debtor ‘i and [:] Yes_ Fili out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2_ each dependent .............. Debtor1 or Debtor 2 age live with you?
Do not state the i:.i No
dependents names. |:] Yes

i:i No

i:i Yes

i:i No

i:i Yes

i:i No

i:i Yes

3. Do your expenses include l NO

expenses of people other than m

yourself and your dependents? Yes

Estimate Your Ongoing iliionth|y Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule l: Your Income
(Officiai Form 1061.)

 

4. The rental or home ownership expenses for your residence. include first mortgage

payments and any rentforthe ground or lot. - $ 3’366'52

if not included in line 4:

4a. Real estate taxes 4a. $ 0.00

4b. Property, homeowner's, or renter‘s insurance 4b. $ 0.00

4c. Home maintenance, repair, and upkeep expenses 4c $ 150_00

4d. Homeowner’s association or condominium dues 4d. $ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

Ofiicial Form 106J Schedule J: Your Expenses page 1

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Debtor 1 Doreen Hoffman Case number (if known)
6. Utiiities: '
6a. Electricity, heat, natural gas 6a. $ 585_00
6b. Water, sewer, garbage collection 6b. $ 80.00
6c. Telephone, cell phone, internet, satellite, and cable services 6c. $ 1 250_00
6d. Other. Specify: 6d. $ 0.00
7. Food and housekeeping supplies 7. $ 650.00
8. Chiidcare and children’s education costs 8. $ 0.00
9. Ciothing, laundry, and dry cleaning 9. $ 60.00
10. Personal care products and services 10. $ 36.00
11. iViedical and dental expenses 11. $ 150.00
12. Trans ortati n. include as, mainte ance, bus or train fare.
Do notpinclud; car payme§r]its. n 12- $ 140'00
13. Entertainment, clubs, recreation, newspapers, magazines, and books ~ 13. $ 10_00
14. Charitabie contributions and religious donations 14. $ 20.00
15. insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ `0.00
15b. Heaith insurance 15b. $ 0_00
15c. Vehicle insurance 156. $ 415.00
15d. Other insurance. Specify: 15d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: ' 16- $ 0.00
17. installment or lease payments:
17a. Car payments_for Vehicle 1 ` 17a. $ 300_00
17b. Car payments for Vehicle 2 17b. $ 0_00
17c. Other. Specify: 17c. $ 0.00
17d. Other. Specify: » 17d. $ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as
deducted frorn your pay on line 5, Schedule I, Yourlncome (Officiai Form 106|). 13- $ 0'00
19. Other payments you make to support others who do not live with you. $ 0.00
speciry: ' 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. Mortgages on other property 20a. $ 0_00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeowner's, or renter’s insurance 20c. $ 0_00
20d. Maintenance, repair, and upkeep expenses . 20d. $ 0.00
20e. Homeowner’s association or condominium dues 20e. $ O_OO
21. Other: Specify: _ . 21. +$ 0.00
22. Calculate your monthly expenses
22a. Add lines 4 through 21. $ 6,212.52
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Ofiicial Form 106J-2 $
22c. Add line 22a and 22b. The result is your monthly expenses $ 6,21 2.52
23. Calculate your monthly net income.
23a. Copy line 12 (yourcombinedmonthlyincome) from Schedule l. 23a. $ 6,532_76
23b. Copy your monthly expenses from line 22c above. 23b. -$ 6,212_52
23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. 23€- $ 320-24
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment 10 increase or decrease because of a
modification to the terms of your mortgage?
' No.
l:l Yes_ tExplain here:
\_
Otficial Form 106J Schedule J: Your Expenses page 2

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4 Fili in this information to identify your case:

Debtor1 Doreen Hoffman

Entered 04/27/18 09259211

 

First Name Middie Name Last Name

Debtor 2

 

(Spouse if, filing) First Name Middie Name Last Name

United States Bankruptcy Court for the: EASTERN DlSTRlCT OF NEW YORK

 

Case number
(if Known)

 

 

|'_‘] Check if this is an
amended hling

 

Otficial Form 106Dec

Declaration About an individual Debtor‘s Schedules

12I15

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

-No

|'_'l Yes. Name of person

Attach Bankruptcy Petition Preparer`s Notice,

 

Under penalty of perjury, i declare that l have read the summary and schedui
that they are true and correct.

X IsI Doreen Hoffman

   

Declaration, and Signature (Officiai Form 119)

i|ed with this declaration and

 

Doreen Hoffman
Signature of Debtor 1

 

Date gng 26, 2018 Date

S'gfiature of Detttztr 2 / \/

 

Otficial Form 106Dec

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Declaration About an individual Debtor's Scheduies

Best Case Bankruptcy

Case 8-18-72852-reg Doc 1 Filed 04/26/18

Fil|.in this information to identify your case:

Debtor1 Doreen Hoffman

First Name Middie Name Lasl Name

Debtor 2

Entered 04/27/18 09259211

 

(Spouse if. filing) First Name Middie Name Last Name

United States Bankruptcy Court for the: EASTERN DlSTRlCT OF NEW YORK

 

Case number
(if known)

 

 

i:l Check if this is an
amended filing

 

Otficial FOrrn 107

Statement of Financial Affairs for individuals Filing for Bankruptcy

4I1 6

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.
Give Detaiis About Your Niarita| Status and Where You Lived Before
1. What is your current marital status?

i:i l\/larried
l Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

Debtor 2 Prior_Address:

. No v
i:i Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
,Dfebt_`oi_t Prior Addressi Dates_ 1339th 1

lived theie '

 

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and tem'tories include Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

l No
i:i Yes. Make sure you fill out Schedule H.‘ Your Codebtors (Officiai Form 106H).

Explain the Sources of Your income

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses including part-time activities
if you are filing a joint case and you have income that you receive together, list it only once under Debtor1.

i:i No
l Yes. Fill in the details

   

Gross income

Sources of income
Check all that apply.

.e>$‘,z!£i§i<zri$i

From January 1 of current year until

l ' . .
the date you filed for bankruptcy: Wages' Commlsslons'

bonuses, tips

i:i Operating a business

 

 

(before deductions and

$26,000.00

 

 

Gros`s income
(before deductions
_?."q 9¥‘?11_1§19’!§2. .,

Sources `of income
Check all that apply.

ij Wages, commissions
bonuses, tips

i:i Operating a business

 

Otficial Form 107

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_ Statement of Financial Affairs for individuals Filing for Bankruptcy

page 1
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Debtor1 Doreen Hoffman k Case number (ifknown)
§§thth §?;; ._ . .. l . _ ., §.`l:?léi§t§i,fz,_-fw~ _ -. _ 1 _
Sources of income Gljoss income Sources of income ' Q[oss income
Check all_thatappiy.__ . (before deductions and_ ,,Check ali thatapply. _ _ (before_ldeductions _
. exclusions) . . . . and sxciu`sions)_' b .
i:i Wages, commissions $6,000.00 i:i Wages, commissions
bonuses tips bonuses tips
Operating a business m Operating 3 business
For last calendar year: Wages, commissions $102,500.00 i:i Wages, commissions
(January 1 to December 31, 2017) bonuses tips bonuses tips
jj Operating a business i:i Operating a business
For the calendar year before that: - Wages, commissions $1 01 ,000.00 i:i Wages, commissions
(January 1 to December 31, 2016) bonuses tips bonuses tips
jj Operating a business i:i Operating a business

 

Did you receive any other income during this year _or the two previous calendar years?

include income regardless of whether that income is taxabie. Examples of otherr`ncome are alimony; child support; Social Security, unemployment
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties and gambling and lottery
winnings if you are filing a joint case a_nd you have income that you received together, list ii only once under Debtor 1.

List each source and the gross income from each source separately Do not include income that you listed in line 4.

l No
i:i Yes. Fill in the details

        

- ._ ~ .-.._s..;"._ t _. ,~~ . . -Debtér_£ ___
-Soul_'_ces of income - Gr_oss income from Sources of lnc_ome
D@§Q_r.i)_e heiow- each §Qurse.. . Describe below-
(i>.efore demotions and .
exclusions)

mist Certain Payments You Made Before You Fiied for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts? y
i:i No. Neither Debtor1 nor Debtor 2 has primarily consumer debts. Consumerdebts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personall family, or household purpose.”
During the 90 days before you tied for bankruptcy, did you pay any creditor a total of $6,425* or more?

ij No. Go to line 7.

m Yes List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

_ * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment
l Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts
' During the 90 days before you tied for bankruptcy, did you pay any creditor a total of $600 or more?

No. Go to line 7.

ij Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations such as child support and alimony. Aiso, do not include payments to an
attorney for this bankruptcy case.

Creditor's Name and Address Dates'of payment Total amount Amount you Was this payment for ..'.
paid still owe
Otficial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 2

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Debtor1 Doreen Hoffman - Case number (ifknown)

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an ofticer, director. person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for

a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations such as child support and
alimony.

m No
i:i Yes. List all payments to an insider.

insider‘s Name and Address Dates of payment Total amount Amount you

b Reason for this payment
paid still owe' '

Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?

include payments on debts guaranteed or cosigned by an insider.

. No

ij Yes. List all payments to an insider

insider‘s Name and Address ' Dates of payment Total amount Amount you Reason for this payment
` - paid stiii owe include creditor'_s name

identify Legai Actions, Repossessions, and Foreciosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters including personal injury cases small claims actions divorces collection suits paternity actions support or custody
modifications and contract disputes

i:i No
- Yes. Fiilinthe details

Case title » l ' Nature of the case Court or agency Statns ofthe case
Case ,n,_l_imber . _

U.S. Bank, N.A., as Legai Titie Foreciosure Supreme Court of the State l pending
Trustee for Truman 2013 SC3 Titie ' of New York - m On appeal
Trust,‘ Plaintiff vs. Doreen Hoffman, County of Suffolk m Conc|uded

et a|.

index # 070274/2014

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

l No. co 10 line 11.
i:i Yes. Fill in the information below.
Creditor Name and Address _ Describe t_he Property Date _ _ Value of the

Property
Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your

accounts or refuse to make a payment because you owed a debt?

l No
i:i Yes. Fili in the details

Creditor Name and Address ' Describe the action the creditor took Date action was Amount

taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors
court-appointed receiver, a custodian, or another official?

No
i:i Yes

Otficial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy

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Debtor1 Doreen Hoffman - Case number (ifknown)
\

 

 

_ List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
m No

i:i Yes. Fill in the details for each gift.

Gifts w_i_th a total value of more than $600

Describe the gifts
per person

Dafe§,y°u_ gave , Value
f.h_é §iff§

Person to Whom You Gave the Gift and

Addressi`

14 Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity‘?
l No

i:i Yes. Fili in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed Dates you
more than $600 ~' . . .. -.i v .

_ . _ . ~ ~ " _ ' contributed
Charlty s N_anfle v __ . . 4
Address (Nuniber, street city, state and zlP code)

List Certain Losses

Value

15. W'thin 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft f're, other disaster
or gambling?

l No
i:i Yes. Fili in the details

Describe the property .you lost and ’

Describe any insurance coverage forethe loss .
bQW the i°_s_s `°°sl!!!'~°i¢_l

Date of your.i Value of property
include the amount that insurance has paid.<~List pending ~ l°s~s ». .. z 1 .:. l°$t..

insurance claims On iiné 33 of Schedule A/B.; PfébérW.
List Certain Payments or Transfers

16 Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about'seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy
i:i No
l Yes. Fill in the details

Person Who Was Paid Description and value of any property

  

_ Date payment 7 - Amount of

_ q _, 7 '_ _ _ transferred 4 ‘ oi_' transfer was payment
Em_ar oi_' webs'te address made
Person Who lillade the Payment, if Not You _ '
iiilaciag Law LLC $9,500 Total 1I26I2018: $ $0.00
475 Wali Street 2,500.00
Princeton, NJ 08540 4I24I2018: $

7,000.00

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16

No
i:i Yes. Fili in thedetails

Person Who 4iliias Paid l l f ' 4 Descriptlon and value of any property
Address. _ ~_ .. .,

` bafte patnéh`t " ` ` Amoufnfo'f"`
transferred.. . _ . . . . .. .. , __ .. .or.tra_nsfer_was.,.. _..,. __ ._. ....payment
made
Otficial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4
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Best Case Bankruptcy

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Debtor 1 Doreen Hoffman Case number (ifknown)

 

 

18. Within 2 years before you1 filed for bankruptcy, did you seii, trade, or otherwise transfer any property to anyone, other than property
transferred' 1n the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

 
 

l No

l:l Yes. Fill in the details.

Person Who Rece_ived 'i'_ransfer , Descrlptlon and value o_f _ ' f __ operty_ or 9 `t__e transfer was
Address . _ . , property transferred ed or debts made

p
paid' ln exchange
Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (T hese are often called asset-protection devices.)

. No
l:l Yes. Fill in the details.
‘Name of trust Description and value of the property transferred ' Date Transfer was ‘

made

 

' List of Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, ciosed,
sold, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares' m banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

l No

l'_"l Yes. F111 in the details.

Name of Financial institution and Last 4 digits of Typ_e of account or Date account was Last balance
Address (N_umbe_r, street, city, state _an_tl z1P account n_umb_e_r_ instrument f before cl `
C°d-E-)~ _t_ , ., . ., . , .

   

trah.§tériéd

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

l No
g Yes. Fill in the details.

Name of Financial institution Who else had access to it? Describe the contents Do youfstill
Address lNumber. street City, staté and ZIP code) 'Ad.dr,éss.tl!ttimpe,r, Street Cl_ty. _ ' .. . . " :_have it? " ‘

State and ZiP Code)

22. Have you stored property in a storage unit or place other than your horne within 1 year before you filed for bankruptcy?

l No
Yes. Fill in the detai\s.

Name of Storage Faci|ityr _ Who el_se has or had access Describe the contents Do you still
Address (Numbér, street, city, state end zlP cude) to it? : - , - - have it?

Address (Number, street, city,
State and ZiP Code)

identify Property You Hoid or Controi for Someone Else

 

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for, or hold in trust

for someone.

l No

iii Yes. Fillinthe details.

Owner-‘s Name -'--~-~~ »~ ~~» Where is-the property?--- -- »-Describe the property - ~ :--~---~~-- ~--~-~~~Vaiue
Address (Number, street, city, state and zlP code) lN“mbErtSf'€eft Cith State and Z'P

Code)

 

"§art’1§§ Give Detaiis About Environmentai information v

For the purpose of Part10, the following definitions appiy:

l Environmentai law means any federal, state, or local statute or regulation concerning poliution, contamination, releases of hazardous or
. Otficial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

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Debtor1 Doreen Hoffman s Case number (ifknown)

 

 

toxic substances, wastes, or material into the air, land, soii, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites`.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, poiiutant, contaminant, or similar term.

Report ali notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental |aw?

il No

lII Yes. Fili in the details.

Name of site ' Governmenta| unit Environmentai law, if you l_)at_e o_f notice
Address (Number, street, city, state and ziP code) Address (Number, street, city, state and know it

Z|P_Code) _ ,

25. Have you notified any governmental unit of any release of hazardous material?

l No
n Yes. Fill` in the details. _
Name of site "r§n"tal; un_it Environmentai law, if you . l_?..a:te_v of notice

  
 

Address (Num_he_r, street city,staie and z_i__P cede) (gump_e_r,siree_t,city,_s_;_aie.and kn" 7

 

zlP cpde) '

26. Have you been a party in anyjudicial or administrative_proceeding under any environmental iaw? include settlements and orders.

l No
E Yes. Fili in the details.
Case Titie Court or agency Nature of the case Status of the
Case Number Name case
` ` Addre_SS (Numhe_r,Street, City, " ' '
State and Z|F Code)

Give Detaiis About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
l:l A member of a limited liability company (LLC) or limited liability partnership (LLP)
g A partner in a partnership
n An officer, director, or managing executive of a corporation
n An owner of at least 5% of the voting or equity securities of a corporation

m No. None of the above applies. Go to Part 12. l

g Yes. Check all that apply above and fill in the details below for each business.

Business Nam"é"""`"“'""` "*_ Describe the nature of the business Employer ident,flcat,on number~~~-~~~-~~ W
Address Do no_tinclude Social Security number or iTlN_.
(Numb`er, Street, City, State and ZiP Code) Name of accountant or bqokkeeper »

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other paities.

m No
Yes. Fili in the details beiow.
..Name . Date issued

Address
(Numt:erl Street, City, State and ZiP Code)

 

ign Below

i have read the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perjury that the answers
Offlciai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy~ page 6

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Debtor1 Doreen Hoffman v - Case number (ifknown)

 

are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

  

lsl Doreen Hoffman

Doreen Hoffman
Signature of Debtor1

 

/ / /%
' nature of Debtdf 2 // L,,/

Date April 26, 2018 Date

 

 

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Officiai Form 107)?

l:l Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
l No
l:i Yes. Name of Person . Attach the Bankruptcy Petition Preparer“s Notice, Declaration, and Signature (Officiai Form 119).
Otficial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy . page 7

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132030 (Form 2030) (12/15)
United States Bankruptcy Court
Eastern District of New York

In re Doreen Hoffman Case No.
Debtor(s) Chapter 1 1

 

 

 

DISCLOSURE Olli` COMP]ENSATION OF ATTORNEY FOR DEBTOR(S)

1. Pursuant to ll U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), l certify that I am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

 

 

For legal services, I have agreed to accept $ nla “"\
Prior to the filing of this statement I have received $ 0.00
Baiance Due $ per fee applications to be filed

 

2. The source of the compensation paid to me was:

- Debtor l:l Other (specify):

3. The source of compensation to be paid to me is:

- Debtor I:l Other (specify):
4. l I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

I:l I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached

5. In return for the above-disclosed fee, l have agreed to render legal service for all aspects of the bankruptcy case, including:

. Anaiysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
. Representation of the debtor at the meeting of creditors and confirmation hea.ring, and any adjourned hearings thereof;
. [Other provisions as needed]
Compensation as allowed by the'Court per Fee Statements and Fee Applications to be filed in the ordinary
course

OU‘N

D.-

6. By agreement with the debtor(s), the above-disclosed fee does not include the following service:

/\

 

 
   
       
   
  

 

 

CERTIFICATION
l certify that the foregoing is a complete statement of any agreement or arrangement for payment 0 m or re ese tion of the debtor(s) in
this bankruptcy pro ceeding. j
April 26, 2018 lsl John Fazlio, Es .
Date John Fazzio, Esq.

Signature of Attorney
FAZZIO LAW

26 Broadway, 21s Fioor
New York, NY 1 000
201 -529-8024
jfazzio@fazzioiaw.co
Name oflawjirm

 

 

 

 

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lUNITED S'l[`ATES BANKRUPTCY COURT
EASTERN lDISTRl[CT OF NEW YORK

s'rATEMENT PURSUANT irc LOCAL
BANKRUPTCY RULE 1073~2(1»)

DEBTOR(S): Doreen Hoffman CASE NO_:'

 

 

Pursuant to Local Bankruptcy Rule 1073- -Z(b), the debtor (or any other petitioned hereby makes the following disclosure
conce1ning Related Cases, to the petitioner' s best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-l and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the sarne; (ii) are
spouses or ex-spouses; (iii) are aftiliates, as defined in ll U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under ll U.S.C. § 541(a).]

l NO RELATED CASE IS PEND]NG OR HAS BEEN _PEND]NG AT ANY TIME.

|:i THE FOLLOW]NG RELATED CASE(S) IS PEND]NG OR HAS BEEN PEND_ING:

1. CASE NO.: IUDGE: DISTRICT/DIVISION:
CASE STILL PEND]NG fY/N): [Ifclosed] Date of closing:

‘ CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER]N WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED ]N DEBTOR'S SCHEDULE "A" (' 'REAL PROPERTY") WHICH WAS ALSO LISTED ]N
SCHEDULE "A" OF RELATED CASE:

2. CASE NO.: .TUDGE: DiSTRICT/DIVISION:

CASE STILL PEND]NG (YfN): [Ifclosed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, continned, dismissed, etc.)

MANNER]N WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED ]N DEBTOR'S SCHEDULE 'YA" ("REAL PROPERTY") WHICH WAS ALSO LISTED lN
SCHEDULE "A" OF RELATED CASE:

3. CASE NO.: IUDGE: DiSTRICT/DIVISION:
CASE STILL PEND]NG (Y/N): [Ifclosed] Date of closing:
(OVER)

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DISCLOSURE OF RELATED CASES (cont'd)

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confnmed, dismissed, etc.)

MANNER ]N W'HICH CASES ARE RELATED (Refer to NOTE above) :

 

REAL PROPERTY LISTED ]N DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED ]N
SCHEDULE "A" OF RELATED CASE;

NOTE.' `Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to tile a statement in support of his/her eligibility to file,

TO BE COMPLETED BY DEBTOR/PET.[T.[ONER'S A'ITORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N): Y

CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

  
  

I certify under penalty of perjury tha i".
as indicated elsewhere on this form. \,

lleohn Fanio,Esq. \§` /
., , .,

w`thin bankruptcy case is not related to any case now pending or pending at any tirne, except

 

John Fazzio, Esq. J .
Signature of Debtor's orn Signature of Pro Se Debtor/Petitioner
FAZZiO LAW

26 Broadway, 21 st Flo

 

~New York, NY 1 0004

201'529'8024 Signature of Pro Se Joint Debtor/Petitioner

 

Mailing Address of Debtor/Petitioner

 

City, State, Zip Code

 

Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073 -2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice

NOTE: Any change in address must be reported to the Court immediately ]N WRIT.[NG. Dismissal of your petition may otherwise _
result.

USBC-17 Rev 8/11/2009
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United States Bankruptcy Court
Eastern District of New York

In re Doreen Hoffman Case No.

 

Debtor(s) _ Chapter 1 1

VERIFICAT][@N ©lF CREDI[T<U>R MATRIX

The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge

Date: April 26, 2018 ' lsl Doreen Hoffman AM__._ j

Doreen Hoffman (_,/ /

Signature of Debtor
Dare; April 26, 2018 /s/John Fazzio, Esq. _ //

Signature of Attorney
John Fazzio, Esq.
FAZZlO LAW

26 Broadway, 21s Fioor
New York, NY 100 4

201 ~529-8024

 

 

 

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AMCMA
4 Westchester Plaza, Suite 110
Elmsford, NY 10523

American Medical Collection
4 Westchester Plaza
Elmsford, NY 10523

Atlantic Credit & Finance
PO BOX 2001
Warren, MI 48090

Credit Collections Services
725 Canton Street
Norwood, MA 02062

Credit One Bank
PO BOX 60500
City Of Industry; CA 91715-0500

Debt Recovery/Pendriok Capital
PO Box 9003
Syosset, NY 11791

Excluder Security Systems
PO Box 1286 _
Massapequa, NY 11758

Fazzio Law
164 Franklin_Turnpike
Mahwah, NJ 07430

Henry Weinstein
37 Maple Ave,
Cedarhurst, NY 11516

Joyce Ciccone
9337 Santa Monica Way
New Port Richey, FL 34655

Lenox Hill Hospital

CO- Automated Financial
4505 Veterans Mem Hwy, Ste H
Lake Ronkonkoma, NY 11779

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LI Anesthesiologist
3 Boyle Road
Selden, NY 11784

Linda Cerami
107 Laurel Street
Patchogue, NY 11772

Mullen & Iannarone PC
300 East.Main Street
Smithtown, NY 11787

N.Y. State Dept Of Taxation
NYS Assessment Receivables
PO BOX 4127

Binghamton, NY 13902-4127

National Grid
PO BOX 11791
Newark, NJ 07101

New City Funding Corp.
PO BOX 121
Stony Point, NY 10980

New City Funding Corp.
PO BOX 121
Stony Point, NY 10980

Optimum Cable Vision
1111 Stewart Ave.
Bethpage, NY 11714

PSEG-LI
PO BOX 888
Hicksville, NY 11802

Quest Diagnostics
PO BOX 7308
Hollister, MO 65673~7308

Rainman Irrigation Inc
840 Lincoln.Ave, Unit 10
Bohemia, NY 11716

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RT Financial (Langone Medical)
2 Teleport Dr, Suite 302
Staten lsland, NY 10311

Rushmore Loan Management
PO BOX 52708
Irvine, CA 92619

Stewart Brody DDS

C-o Richard.$okoloff Esq.
900 S. 2nd.Street, Suite l
Ronkonkoma, NY 11779

Suffolk County Water
2045 Route 1112, Suite 5
Coram, NY 11727

U.S. Internal Revenue Service
PO BOX 804527
Cincinnati, OH 45280-4527

USBank NA as LegalTitleTruStee
200 Business Park Drive
Armonk, NY 10504

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‘F_il| in_ this information to identify y'our case:'

Debtor1 ` Doreen Hoffman
First Name Middie Name Last Name

Debtor 2
(Spouse if, hling) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: EASTERN DlSTRlCT OF NEW YORK

 

Case number
(ifknown) [| Check if this is an

amended filing

 

 

 

B 104
For individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest

Unsecured Claims Against You and Are Not insiders 12/15

if you are an individual filing for bankruptcy under Chapter11, you must fill out this form. |f you are filing under Chapter 7, Chapter 12, or
Chapter13, do not fill out this form. Do not include claims by anyone who is an insider. insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U. S. C. § 101. Aiso, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information.

List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not include Claims by insiders.

 

 

- What is the nature of the claim? $ $335_08
AMCMA
4 Westchester P|aza, Suite 110 As of the date you file,_the claim is: Check all that apply
Elmsford, NY 10523 ` E| Contingent
l:| Unliquidated
[:| Disputed

- None of the above apply

 

Does the creditor have a lien on your property?

 

 

 

 

- No
contact [| Yes. Total claim (secured and unsecured) ‘ $
~ Value of security: - $
conraerphone Unsecured claim $
. What is the nature of the claim? $ $350_08
American ll!iedicai Collection
4 Westchester plaza As of the date you file, the claim is: Check all that apply
Ermsford, NY10523 13 Contingent
[] Unliquidated
|:] Disputed

. None of the above apply

 

Does the creditor have a lien on your property?

 

 

- No
conraer |:] Yes. Total claim (secured and unsecured) $
Value of security: ~ $
contact phone Unsecured claim $
B104 (thcia| Form 104) For individual Chapter 11 Cases List of Creditor's Who Have the 20 Largest Unsecured Claims Page 1

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Debtor 1 Doreen Hoffman ` Case number (ifknown)
m What is the nature of the claim? j $ $637.03
Credit Collections Services
725 Canton Street As of the date you file, the claim is: Check all that apply
Ncn~ocd, MA 02062 13 C°'_“‘"ge'“
|:l Unliquidated
|:[ Disputed

m None of the above apply

 

_ Does the creditor have a lien on your property?

 

 

 

 

- No
contact |:l Yes. Total claim (secured and unsecured) $
Value of security: ~ $
contact phone Unsecured claim $
- What is the nature of the claim? $ $675.00
Credit One Bank
p0 Box 60500 As of the date you file, the claim is: Check all that apply

city cf rndustry, cA 91715-0500 El Contingent
l:l Unliquidated

[:l Disputed
- None of the above apply

 

Does the creditor have_a lien on your property?

 

 

 

 

- No

contact |:l Yes. Total claim (secured and unsecured) $
Value of security: . - $
contact phone Unsecured claim $
. . What is the nature of the claim? $ $675.00

Exciuder Security Systems
p0 Box 1286 As of the date you file, the claim is: Check all that apply
Massapequa, NY 11758 m C°"t'"gem '

|:l Unliquidated

|:l Disputed

l None of the above apply

 

Does the creditor have a lien on your property?

 

 

 

 

 

- ' No
contact |:[ Yes. Total claim (secured and unsecured) $
Value of security: - $
Contact phone UnSeCUi€d Claim $
What is the nature of the claim? $ $650.00
Fazzio Law -
1 64 Frank[in Tumpike As of the date you file, the claim is: Check all that apply
rviahwah, NJ 07430 13 C°"t‘"ge"t
|:l Unliquidated
|:l Disputed
- None of the above apply

 

Does the creditor have a lien on your property?

B 104 (Officiai Form 104) For individual Chapter 11 Cases List uf Creditors Whu Have the 20 Largest Unsecured Claims Page 2

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Case 8-18-72852-reg

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Debtor 1 Doreen Hoffman. 'Case number (ifknown)
- No
contact [l Yes. Total claim (secured and unsecured) $
Value of security: ~ $
contact'pnone Unsecured claim $

 

  

`“-ei Henry Weinstein
37 Nlaple Ave.
Cedarhurst, NY 11516

 

 

Conlact

 

Contact phone

What is the nature of the claim? 163 Roe Avenue, East

Patchogue, NY 11772

$ $100,000.00

 

As of the date you file, the claim is: Check all that apply

|:| Contingent

- Unliquidated

l Disputed

|:l None of the above apply

Does the creditor have a lien on your property?

|:l
l

No

Yes. Total claim (secured and unsecured)
Value of security:
Unsecured claim

$ $100,000.00

-$ $427,500.00
$ $100,000.00

 

m Joyce Ciccone

 

 

 

 

 

 

 

 

 

 

What is the nature of the claim? $ $4,200.00
9337 Santa Monica Wa-y As of the date you file, the claim is: Check all that apply
New Pcrt Ricney, FL 34655 13 C°"““Qe"f
|:| Unliquidated
|:| Disputed
l None of the above apply
Does the creditor have a lien on your property?
- No
contact |:l Yes. Total claim (secured and unsecured) $
Value of security: ~ $
contact phone Unsecured claim $
n What is the nature of the claim? $ $4,703_00
Lenox Hiii Hospital
co_ Automated Financial As of the date you file, the claim is: Check ali that apply
4505 Veterans lillem Hwy, Ste H m C°'_ltm_gem
Lake Ronkonkoma, NY 11779 |:l Unl'qu‘dated
[| Disputed
l None of the above apply
Does the creditor have a lien on your property?
No
contact |`_`l Yes. Total claim (secured and unsecured) $
Value of security: - $
contact phone Unsecured claim $
What is the nature of the claim? $ $5,004_21

Ll Anesthesiologist
3 Boy|e Road

B 104 (Ofncial Form 104)

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For individual Chapter 11 Cases List of Creditors Who Have the 20 Largest Unsecured Claims

 

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Best Case Bankruptcy

Case 8-18-72852-reg

Debtor1 Doreen Hoffman

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Case number (ifknown)

 

Selden, NY 11784

 

 

Contact

 

Contact phone

 

As of the date you file, the claim is: Check all that apply
|:] Contingent

|:l Unliquidated
|:l Disputed
l None of the above apply

Does the creditor have a lien on your property?
q No
[:| Yes. Total claim (secured and unsecured)

$
Value of security: - $
Unsecured claim $

 

 

 

 

 

 

 

 

 

 

 

m What is the nature of the claim? $ $1,000.00
Linda Cerami
1 07 Laure| Street As of the date you file, the claim is: Check ali that apply
Patchogue, NY 11772 13 C°"""ge"t
[:| Unliquidated
[:| Disputed
- None of the above apply
Does the creditor have a lien on your property?
- No n
contact [:| Yes. Total claim (secured and unsecured) $
Value of security: - $
Contact phone Unsecured claim $
m what is the nature cf the claim? $ $5,088_37
Muilen & lannarone PC
300 East Main Street As of the date you file, the claim is: Check all that apply
Smithtown, NY 11787 |Il Contingent
. [:| Unliquidated
l:| Disputed
- None of the above apply
Does the creditor have a lien on your property?
- No
contact l:| Yes. Total claim (secured and unsecured) $
Value of security: - $
Contact phone Unsecured Claim $
What is the nature of the claim? $ $4,623.81

n N.Y. State Dept of Taxation

_ NYS Assessment Receivabies
PO Box 4127
Binghamton, NY 13902~4127

 

 

Contact

 

E 104 (Ofdcia| Form 104)

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For individual Chapter 11 Cases List of Creditors Who Have the 20 Largest Unsecured Claims

 

As of the date you file, the claim is: Check all that apply
[:| Contingent

[:| Unliquidated
|:] Disputed
m None of the above apply

Does the creditor have a lien on your property?
m No

[:| Yes. Total claim (secured and unsecured) : $
Value of security: - $

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Best Case Bankruptcy

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Debtor1 Doreen Hoffman Case number (ifknown)
contact phone Unsecured claim $
m What is the nature of the claim? $ $1,500.00
Nationai Grid
po Box 11791 As of the date you file, the claim is: Check all that apply
Newark, NJ 07101 13 C°"“"ge"t
1:| Unliquidated
[| Disputed

None of the above apply

 

Does the creditor have a lien on your property?

 

 

 

 

- No
contact ij Yes. Total claim (secured and unsecured) $
Value 'of security: - $
contact phone Unsecured claim $
d What is the nature of the claim? $ $265.00 '
Optimum Cable Vision `
' 1 11 1 Stewart Ave_ As of the date you file, the claim is: Check all that apply
Bethpage, NY11714 13 C°"""ge"*
‘ [| Unliquidated
1:| Disputed

None of the above apply

 

Does the creditor have a lien on your property?

 

 

 

 

- No

contact [| Yes. Total claim (secured and unsecured) $

~ Value of security: - $
contact phone Unsecured claim $
What is the nature of the claim? $ $1,100.00
', . PSEG-Li

po Box 333 As of the date you file, the claim is: Check all that apply

Hicksville, NY 11302 13 C°"f"‘ge'“
-1:| Unliquidated
[| Disputed

- None of the above apply

 

Does the creditor have a lien on your property?

 

 

 

 

 

 

- No

contact l:l Yes. Total claim (secured and unsecured) $
Value of security: _ - $

contact phone Unsecured claim $

What is the nature of the claim? $ $850,00
Quest Diagnostics
p0 Box 7303 As of the date you file, the claim is: Check ali that apply
Hollister, ivio 65673-7308 13 C°"f'"ge"f

' 1:| Unliquidated
[| Disputed
l None of the above apply
B 104 (thcial Form 104) For individual Chapter 11 Cases List of Creditors Who Have the 20 Largest Unsecured Claims l Page 5

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Case 8-18-72852-reg

Debtor1 Doreen Hoffman

DOC 1 Filed 04/26/18 Entered 04/27/18 09259211

Case number (ifknown)

 

 

 

Contact

 

Contact phone

Does the creditor have a lien on your property?

l No

1:| Yes. Total claim (secured and unsecured) $
Value of security: ~ $
Unsecured claim $

 

 

 

 

 

What is the nature of the claim? -

 

 

$ $768.84
Stewart Brody DDS
c_O Richard Sokoloff Esq_ As of the date you file, the claim is: Check all that apply
900 s. 2nd street, Suite 1 13 C°l_‘f‘“_gem
Ronkonkoma, NY 1 1 779 m U""qu'dated
1:| Disputed
- None of the above apply
Does the creditor have a lien on your property?
- No
~ contact [l Yes. Total claim (secured and unsecured) $
Value of security: _ - $
contact phone Unsecured claim $
What is the nature of the claim? $ Unknown

1 9
- U.S. internal Revenue Service

PO Box 804527
Cincinnati, OH 45280-4527

 

 

Contact

 

Coniact phone

 

As of the date you file, the claim is: Check all that apply
- Contingent

l Unliquidated
1:| Disputed
1:| None of the above apply

Does the creditor have a lien on your property?

- No

ij Yes. Total claim (secured and unsecured) $
Value of security: - $
Unsecured claim $

 

n USBank NA as LegalTitleTrustee

200 Business Park Drive
Armonk, NY 10504

 

 

Contac’t

 

Contact phone

What is the nature of the claim? 163 Roe Avenue, East

Patchogue, NY 11772

$ $237,758.00

 

As of the date you file, the claim is: Check all that apply
1:] Contingent

l:] Unliquidated
[_'| Disputed
l None of the above apply

Does the creditor have a lien on your property?

l:] No

l Yes. Total claim (secured and unsecured)
Value of security:
Unsecured claim

$ $665,253.00

- $ W
$ $231,153.00

 

ma Bel°w

a 104 (otticiai Form 104)

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Forlndividuai Chapter 11 Cases List of Creditors Who Have the 20 Largest Unsecured Claims

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Debtor 1 Doreen Hoffman Case number (ifknown)

 

Under penalty of perjury, l declare that the information provided in this fo ue and correc

    
 
 
   

X lsl Doreen Hoffman

Doreen Hoffman nature of Deb or

 

Signature of Debtor 1
Date April 26, 2018 _ Date
B 104 (Officiai Fon'n 104) For individual Chapter 11 Cases List of Creditors Who Have the 20 Largest Unsecured Claims

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`_‘F'ili:in this information to ident`ify:`y_o"u'r ca§e: _

Debtor1 Doreen Hoffman

 

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court for the: Eastern District of New York

 

 

 

 

case number ' IJ check ifthis is an amended filing
v (if known)
Otficial Form 1228
Chapter 11 Statement of Your Current lllionthiy income 12/15

 

You must tile this form if you are an individual and are filing for bankruptcy under Chapter 11. if more space is needed, attach a separate
sheet to this forrn. include the line number to which the additional information applies. On top of any additional pages, write your name and
case number (if known).

Calculate Your Current Monthly income

1. What is your marital and filing status? Check one only.

 

l Not married. Fill out Column A, lines 2-11.

[] llflarried and your spouse is filing with you. Fili out both Columns A and B, lines 2-11.

m Married and your spouse is NOT filing with you. Fill out Column A, lines 2-11.

Fill` in the average monthly' rncome that you received from ali sources, derived during the 6 full months before you file this bankruptcy
case. 11 U. S. C. § 101(10A). For example, if you are tiling on Se`ptember 15, the 6-month period would be March 1 through A_ugust 31. lfthe amount 7
of your monthly' income varied `dun'ng the 6 months, add the' income for all 6 months and divide the total by 6. Fill` in the resuit. Do not include any

` income amount more than onoe`. For example, if both spouses own the` same rental property, put the income from that property' in one column ohiy. if
you have nothing to report for any line, write $0`1n the space.- _ .. _ _ , _

 

ColumnA m ' ColumnB
Debtor 1 Debtor 2

2. Your gross wages, salary, tips, bonuses; overtime, and commissions (before all
payroll deductions). $ 6,259.18 $

3. A|imony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. $ 0.00 $

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. include regular contributions
from an unmarried partner, members of your household your dependents, parents,
and roommates. include regular contributions from a spouse only if Column B' is not
filled in. Do not include payments you i' t d

5. Net' income from operating a
business, profession, or farm

Gross receipts (before all deductions) 0-00
Ordinary and necessary operating expenses -$ 0-00
Net monthly income from a business, profession, or farm $ 0-00 C°PY here '> $ o-oo $

 

 

0.00 $

    
   

 

 

 

’0
$

 

 
 

6. Net income from rental and 1
other real property 19

`!__-...~._.`

Gross receipts (before all deductions) $ 1 ,.500 00
Ordinary and necessary operating expenses -$ 0.00

Net monthly income from rental or other real C°Py
property $ 1,500.00 here .> $ 1 ,500.00 $

 

 

 

 

Ochiai Form 1223 Chapter 11 Statement of Your Current lillonthiy income page 1
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Debtor1 Doreen Hoffman

 

Entered 04/27/18 09259211

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column A Column B
~Debtor 1 - ~ - ~ Debtor2 ~- ~
7. lnterest, dividends, and royalties $ 0'00 $
8. Unemployment compensation $ 0.00 $
Do not enter the amount if you contend that the amount received was a benth under
the Social Security Act. lnstead, list it here:
For you $ 0.00
For your spouse ___________________________________________ *$
9. Pension or retirement income. Do not include any amount received that was a
benetit underthe S,ocial Security Act. $ 0'00 $
10. income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments
received as a victim of a War crime, a crime against humanity, or intemational or
domestic terrorism.
if necessary, list other sources on a separate page and put the total below.
$ $
$ 0.00 $
Total amounts from separate pages, if any. $ 0.00
11. Calculate your total current monthly income.
Add lines`2 through 10 for each column.
Then add the total for Column A to the total for Column B. $ 7’759~18 + $ = $ 71759-18
thcial Form 122B Chapter 11 Statement of Your Current illionthly Income page 2

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Deb10r1 Doreen Hoffman Case number (lfknown)

 

g Sign Below
By signing here, under penalty of perjury l declare thatt information on this statement and in any attachments is true and correct.
X lsl Doreen Hoffman , /,»__/

Doreen Hoffman C/ / / W
Signature of Debtor 1

Date Apri126, 2018
MM / DD / YYYY

 

 

 

vOft"rcial Form 122B ' Chapter 11 Statement of Your Current llllonthly income page 3

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